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                   UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION
                                                                       1
In re:
                                                   Case No. 23-645
Professional Fee Matters Concerning the
Jackson Walker Law Firm




EXPERT REPORT OF PROFESSOR JONATHAN C. LIPSON REGARDING CERTAIN
                 DISCLOSURE AND ETHICS MATTERS


                              September 30, 2024
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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
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    In re:
                                                                             Case No. 23-645
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                 DISCLOSURE AND ETHICS MATTERS


             “The conduct of bankruptcy proceedings not only should be right but must seem right.”1
             “[W]hat he gave me was a line of bull. And I don’t appreciate it. You’re asking me to put
             a lot of faith in people I don’t know. And I expect transparency, I expect forthrightness,
             and I got neither . . . .”2
             “Any litigant or member of the public might reasonably question whether the fees Jones
             awarded to Jackson Walker may have been paying the judge’s mortgage and utility bills.”3

       I have been retained by the United States Trustee for Region 7 (“UST”) to offer my expert
opinion on certain disclosure and ethical obligations of the law firm of Jackson Walker LLP
(“JW”) as they pertain to the intimate relationship (which had romantic, financial, and/or
cohabitation features) (the “Relationship”) of former JW partner Elizabeth Freeman (“EF” or “Ms.
Freeman”) to former United States Bankruptcy Judge R. David Jones (“DJ” or “Judge Jones”).
        Although the factual record of the Relationship is still developing as of this writing (and I
thus reserve my right to supplement this Report and my opinions, as further provided below), my
task is to assess what obligations, if any, JW had to disclose the existence and nature of the
Relationship under section 327 of the United States Bankruptcy Code, Federal Rule of Bankruptcy
Procedure 2014, and other applicable authorities incorporated therein, including rules and
standards of professional responsibility as they may pertain to JW in the bankruptcy context. More
specifically, I have been asked to focus on such questions in connection with various motions and
related efforts (the “Motions”) by the UST to vacate the approval of orders retaining JW in certain
cases (the “Cases”) and awarding it fees.4 The list of Cases is attached as Appendix A.

1
    In re Ira Haupt & Co., 361 F.2d 164, 168 (2d Cir. 1966) (Friendly, J).
2
 Judge David R. Jones, quoted in May 29, 2020 Hr’g Tr., In re Neiman Marcus Group Ltd LLC, et al., case no. 20-
32519, doc. 827, p. 171:9-21.
3
    Van Deelen v. Jones, No. 4:23-CV-03729-AM, 2024 WL 3852349, at *16 (S.D. Tex. Aug. 16, 2024).
4
  See, e.g., United States Trustee's Amended and Supplemental Motion for (1) Relief from Judgment Pursuant to
Federal Rule of Civil Procedure 60(b)(6) and Federal Rule of Bankruptcy Procedures 9024 Approving the Retention
and Compensation Applications of Jackson Walker LLP, (2) Sanctions, and (3) Related Relief, In re 43 Brands

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           I am being compensated at the rate of $900/hour.
       This Report has five parts. Part I summarizes my opinion. Part II provides my qualifications
and the conditions and reservations under which I provide this opinion. Part III summarizes my
understanding of the facts and my basis for such understanding.
       Part IV describes the role that disclosure of actual and potential conflicts of interest plays
in maintaining the integrity of the chapter 11 system, and why Congress sought to create a system
of robust disclosure to act as a check on self-dealing and the appearance of impropriety in chapter
11 practice.
        Part V.A explains why EF’s conflict created by the Relationship was also JW’s conflict:
Texas imputes an attorney’s personal interest conflict, such as a romantic relationship, to her law
firm. Part V.B shows how and why JW should have disclosed the Relationship no later than
February, 2022, when the firm undeniably learned of the existence of the Relationship and that EF
had repeatedly lied to JW about it. Part V.C explains why the Relationship also had to be disclosed
in the Cases in which DJ acted not as a United States Bankruptcy Judge but instead as a mediator
(the “Mediation Cases”).
    I.     Summary
        JW does not seriously dispute that EF’s participation in the Relationship reflected a
significant ethical lapse: they asked her to withdraw as a JW partner because, they concede, “an
ongoing intimate relationship with Judge Jones . . . would be incompatible with [Jackson Walker’s]
continued participation in cases before Judge Jones.”5 Rather, they assert that the obligation to
disclose this “connection” fell to DJ,6 who simply made an unfortunate error in judgment by failing
to recognize that the Relationship was the sort of connection that had to be disclosed (in order to
obtain informed consent) or that he had to be disqualified from presiding over the Cases pursuant
to 28 U.S.C. § 455.7 In any case, they would argue, Federal Rule of Bankruptcy Procedure 2014
does not require disclosure of attorney connections to judges by JW or EF.
           JW is wrong on both the letter and the spirit of the law.
        Although Rule 2014 does not explicitly say that connections to judges must be disclosed,
that Rule exists to implement through forced disclosure the conflict rules of the Bankruptcy Code,
including section 327(a), which governed the retention of JW. Section 327(a) requires that EF and
JW be “disinterested,”8 a term which precludes a lawyer from representing a chapter 11 debtor if

Northamerica LLC, No. 22-50009 (Bankr. S.D. Tex. Feb. 29, 2240), ECF No. 645; United States Trustee's Objection
to First and Final Fee Application of the Law Office of Liz Freeman for Allowance and Payment of Fees and Expenses
as Co-Counsel and Conflicts Counsel to the Debtors for the Period from January 31, 2023 Through June 16, 2023, In
re IEH Auto Parts Holding LLC, No. 23-09954 (Bankr. S.D. Tex. Jan. 29, 2024), ECF No. 1049.
5
    See Opp. ¶ 38. Citation shorthand to Case documents on which I rely is set forth in Part II.
6
    See Opp. ¶ 55 (Judge Jones insisted that “any disclosure obligation belonged to him, and him alone”).
7
  This provides that “Any justice, judge, or magistrate judge of the United States shall disqualify himself in any
proceeding in which his impartiality might reasonably be questioned.” 28 U.S.C. § 455(a).
8
  11 U.S.C. § 327(a). This section provides in pertinent part that “the trustee, with the court’s approval, may employ
one or more attorneys, accountants, appraisers, auctioneers, or other professional persons, that do not hold or represent
an interest adverse to the estate, and that are disinterested persons, to represent or assist the trustee in carrying out the
trustee’s duties under this title.” Id.

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she has “an interest materially adverse to the interest of the estate or of any class of creditors or
equity security holders. . . . or for any other reason.”9 If being in an undisclosed relationship that
appears to be the functional equivalent of a marriage to a presiding judge is not an “other reason”
an attorney would potentially be adverse to a bankruptcy estate, then nothing is.
        Although Rule 2014 does not specifically mention judges as a disclosable “connection,”
the Judicial Code provides that Federal Rules of Bankruptcy Procedure “shall not abridge, enlarge,
or modify any substantive right.”10 JW would turn Rule 2014 on its head, and use it to abridge
disclosure obligations that are fundamental to confidence in the chapter 11 system, including by
eliminating the duty to disclose “other reasons” that an attorney may not be disinterested.
        As a fallback, JW would argue that if any attorney had a duty to disclose the Relationship,
it should be limited to EF, who allegedly concealed and lied about the Relationship to her
colleagues at JW.11 Here, too, JW ignores the letter of the law. Under Rule 1.06(f) of the Texas
Disciplinary Rules of Professional Conduct (TDRPC) any conflict of EF—even a personal
interest—would be imputed to JW, whether or not other attorneys at JW knew of it.12
           Wholly apart from black letter rules—and JW would remind us that “‘text is always the
alpha’”13—Congress surely did not intend the result JW urges: that a law firm has no obligation to
disclose an intimate relationship between one of its partners and a bankruptcy judge before whom
the law firm regularly appears.
       On JW’s theory, a law firm has no such disclosure obligation even when they have actual
knowledge of the conflict—a theory JW put into practice in February, 2022, by which time they
indisputably learned that EF and DJ were in the Relationship yet failed to amend any of their Rule
2014 statements in the Cases. Indeed, they have not to this day amended those disclosures, even
though they concede the impropriety of the Relationship.
        The Fifth Circuit Court of Appeals—like every appellate court to consider the question—
views the disclosure obligations of estate professionals expansively. The disclosure requirements
of Rule 2014(a) “are broader than the rules governing disqualification, and an applicant must
disclose all connections regardless of whether they are sufficient to rise to the level of a
disqualifying interest under Section 327(a).”14 This is a continuing obligation,15 and “counsel who

9
    11 U.S.C. § 101(14)(C).
10
     11 U.S.C. § 2075.
11
  Opp. ¶ 183 (“JW . . . had been repeatedly lied to” by EF “about her secret intimate relationship with a sitting federal
bankruptcy judge who insisted that any disclosure obligations were his, and his alone”).
12
       See    Texas      Disciplinary    Rules     of     Professional     Conduct      1.06(f),    available    at
https://www.texasbar.com/AM/Template.cfm?Section=Home&ContentID=27271&Template=/CM/ContentDisplay.
cfm (accessed Sept, 30, 2024) (“If a lawyer would be prohibited by [Rule 1.06] from engaging in particular conduct,
no other lawyer while a member or associated with that lawyer's firm may engage in that conduct.”).
13
     Opp. ¶ 103 (quoting Whitlock v. Lowe (In re DeBerry), 945 F3d 943, 947 (5th Cir. 2019).
14
   Waldron v. Adams & Reese, L.L.P. (In re Am. Int'l Refinery, Inc.), 676 F.3d 455, 465 (5th Cir. 2012) (emphasis
added) (citing In re Cornerstone Prods., Inc., 416 B.R. 591, 608 (Bankr. E.D. Tex. 2008) (stating that “all”
connections must be disclosed); In re Leslie Fay Cos., 175 B.R. 525, 533 (Bankr. S.D.N.Y. 1994) (same). See also
In re Wright, 578 B.R. 570, 581 (Bankr. S.D. Tex. 2017) (requiring ongoing disclosure under Rule 2014 in a chapter
13 case) (Rodriguez, J.).
15
     I.G. Petroleum, L.L.C. v. Fenasci (In re West Delta Oil Co. Inc.), 432 F.3d 347 (5th Cir. 2005).

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fail to disclose timely and completely their connections proceed at their own risk because failure
to disclose is sufficient grounds to revoke an employment order and deny compensation.”16 While
the duty to update prior filings is not eternal, it survives plan confirmation. 17
        There is an obvious reason for the expansive application of bankruptcy’s disclosure rules.
“The integrity of the bankruptcy system, indeed the entire legal system is dependent in large part
on the ethical conduct of lawyers, their adherence to the law, and their compliance with the rules
of the courts before which they appear.” 18 This is especially true in practice under chapter 11
because, as a presumptively collaborative process, it usually lacks dynamics of adversity that
would otherwise tend to force into the open disabling conflicts of interest. Thus, “the general rule
in bankruptcy is ‘disclose, disclose, disclose.’”19
       Bankruptcy has a long and unfortunate history of significant ethical lapses by legal
professionals. Most notoriously, the “bankruptcy ring” of the 20th Century was a “festering sore”
and a scourge that Congress sought to eliminate in enacting the Bankruptcy Code of 1978. 20 It
sought to do so through transparency and disclosure by professionals of actual, potential or
conceivable conflicts of interest.
        In my opinion, from and after the time JW first learned definitively that EF and DJ were
in, and had been in, the Relationship throughout EW’s partnership with JW (no later than February,
2022), JW had a duty to amend its 2014 disclosures in the Cases which erroneously indicated or
implied no such connection to DJ. DJ’s erroneous interpretation of his ethical obligations is no
excuse, because JW had an independent obligation to investigate the truth of allegations regarding
the Relationship and, if the results warranted it, thereafter to disclose this conflict or to withdraw
from the Cases—as it was advised to do by its own ethics expert in June of 2022.21 Unfortunately,
at every important moment in this matter, JW chose not to disclose but instead to conceal what it
knew or had good reason to know about the Relationship.
        JW’s conduct in this matter has been astounding. It would appear that others share this
reaction:
       •    On September 20, 2024 United States Bankruptcy Judge Marvin Isgur—formerly DJ’s
            colleague on the “complex cases” panel for the Bankruptcy Court for the Southern District
            of Texas—issued an extraordinary letter referring JW and its conduct in connection with
            the Relationship for disciplinary action under Rule 6 of the Rules of Discipline of the Local



16
     Waldron, 676 F.3d at 465-6.
17
  As discussed below, this is a reasonable inference to draw from the Bucyrus-Erie bankruptcy and its fallout, as
detailed in United States v. Gellene, 182 F.3d 578, 584 (7th Cir. 1999).
18
  In re NNN 400 Cap. Ctr. 16, LLC, 619 B.R. 802, 804 (Bankr. D. Del. 2020), aff'd sub nom. In re NNN 400 Capitol
Ctr. 16 LLC, 632 B.R. 243 (D. Del. 2021), aff'd sub nom. In re NNN 400 Capitol Ctr. 16 LLC., No. 21-3013, 2022
WL 17831445 (3d Cir. Dec. 21, 2022).
19
 Nancy B. Rapoport, Am I My Colleague's Keeper When It Comes to Disclosing Connections?, 40 EMORY BANKR.
DEV. J. 333, 382 (2024).
20
  DAVID A. SKEEL, DEBT’S DOMINION, 76 (2001)(pre-Code bankruptcy’s “festering sore was the perception that
bankruptcy practice was grimy and, far worse, operated as a low-level racket.”).
21
     See discussion of “Jarvis2” letter, infra.

                                                       6
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            Rules for the United States District Court for the Southern District of Texas (the “Isgur
            Letter”).22
       •    On August 16, 2024, Chief District Judge Alia Moses, of the Southern District of Texas,
            stated that “the damage has been done” thanks to JW’s “egregious” conduct.23 “Public
            confidence in our courts is difficult to rebuild,” she observed.24 “No one litigant—no matter
            how zealous or well-represented—can lift the specter of impropriety these allegations have
            cast over the courthouse in which, until recently, half of all large bankruptcy cases were
            decided. This could have, and should have, been avoided.” 25
       •    On October 13, 2023, Chief Judge Priscilla Richman, of the Fifth Circuit Court of
            Appeals, found that “the alleged conduct” involving the Relationship “appears to
            constitute impropriety or at least the appearance of impropriety,” and opened a
            disciplinary complaint against DJ.26 Judge Jones resigned soon thereafter rather than
            defend it.27
       •    JW’s co-counsel in 22 of the Cases, Kirkland & Ellis, lamented JW’s disclosure failures
            regarding the Relationship. Kirkland partner Joshua Sussberg testified at deposition that
            JW’s errors here “obviously tarnished . . . everything that was happening down in
            Houston.”28 He “would absolutely say that . . . it tarnishes all these cases. And that’s a
            great concern from our perspective.”29
       •    Indeed, even JW’s own counsel has conceded in a separate pending civil proceeding that
            the Relationship “at a minimum” “creates the appearance of impropriety.”30
 II.        Qualifications and Conditions
            A. Qualifications
       I am a tenured professor of law at Temple University-Beasley School of Law (“Temple
Law”), where I hold the endowed Harold E. Kohn Chair, a position I have held since 2012. From
2010-2012, I held the Foley & Lardner Chair (with tenure) at the University of Wisconsin Law
School. From 2004 to 2010, I was a tenured associate, and then full, professor at Temple Law.
From 1999 to 2004, I was an assistant, and then tenured associate, professor of law at the
University of Baltimore Law School. From 1990 to 1999, I was in private practice, as an associate

22
  See Letter dated Sept. 20, 2024 from Marvin Isgur, United States Bankruptcy Jude to Chief United Stated District
Judge Randy Crane, re: Referral of Jackson Walker LLP, Case 4:24-mc-01523 Doc. 1 (S.D. Tex. Sept. 20, 2024).
23
     Van Deelen v. Jones, No. 4:23-CV-03729-AM, 2024 WL 3852349, at *15, *19 (S.D. Tex. Aug. 16, 2024).
24
     Id. at *19.
25
     Id. at *19.
26
   Complaint Identified by the Chief Judge of the Fifth Circuit Court of Appeals Against United States Bankruptcy
Judge David R. Jones, Southern District of Texas, Under the Judicial Improvements Act of 2002, Complaint No. 05-
24-90002 (5th Cir. Oct. 13, 2023) available at https://www.courthousenews.com/wp-content/uploads/2023/10/fifth-
circuit-complaint-against-bankruptcy-judge-david-jones.pdf (accessed Sept. 30, 2024).
27
   Cameron Langford, Houston bankruptcy judge resigns amid ethics investigation, Courthouse News, Oct 16, 2023,
https://www.courthousenews.com/houston-bankruptcy-judge-resigns-amid-ethics-investigation/.
28
     Sussberg Dep. 79:13-15.
29
     Id. at 80:12-14.
30
     Van Deelen v. Jones, No. 4:23-CV-3729, Hr’g Tr. at 80:4–10 (S.D. Tex. June 6, 2024).

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at the law firms of Milbank Tweed (1990-1992); Kirkland & Ellis (1992-1994); and Hill & Barlow
(1995-1999).31 I am admitted to practice in New York and Massachusetts (inactive). My resume
is attached as Appendix B.
        My research forms three clusters: (i) Contracts; (ii) Corporate Governance; and (iii)
Corporate Reorganization under chapter 11 of the Bankruptcy Code. I have had a particular
interest in the role that transparency and disclosure play in the operation of the chapter 11 system.
In 2010 and 2016 I was the principal investigator in a major empirical study of the use of
“examiners” in the chapter 11 system (the latter of which won the American Bankruptcy Law
Journal Editors’ Prize for best article of 2016). In 2009, I published The Shadow Bankruptcy
System, in which I argued that “[w]hen it enacted Chapter 11 of the Bankruptcy Code in 1978,
Congress created a system that it believed would maximize transparency.”32
        I have worked closely with a number of United States Bankruptcy Judges over the years.
Of note, I am the Faculty Advisor to the American Bankruptcy Law Journal, the peer-reviewed
legal journal published by the National Conference of Bankruptcy Judges, hosted by Temple
Law.33 In that capacity, I work regularly and closely with United States Bankruptcy Judges around
the nation.34 These interactions have given me insight into the deep respect the bankruptcy
judiciary has for the bankruptcy system and their commitment to its integrity in fact and in
appearance.
        I also have certain disclosable connections to the UST. I have twice submitted amicus
briefs to appellate courts in support of positions advocated by the United States Trustee, in In re
FTX and Harrington v. Purdue Pharma, as more fully indicated on my resume. The former (FTX)
supported the UST’s (successful) efforts to achieve greater transparency in chapter 11 through the
appointment of an examiner. I undertook both efforts as counsel of record to amici curiae
bankruptcy law professors, and did so on a pro bono basis. I have made presentations to the UST
program and been on panels with employees thereof. 35 Other than those interactions, and this
engagement, I have no material connection to the UST.



31
  I note that, although I was a bankruptcy associate at Kirkland & Ellis, I have had no significant contact with anyone
from that firm in many years.
32
     Jonathan C. Lipson, The Shadow Bankruptcy System, 89 B.U. L. REV. 1609, 1620 (2009).
33
     AMERICAN BANKRUPTCY LAW JOURNAL, https://ablj.org/.
34
  In particular, I have in this capacity worked closely with the Hon. Terrence Michael, of the Northern District of
Oklahoma and the current editor in chief, the Hon. Michelle Harner (District of Maryland), the incoming editor in
chiuef, the Hon. Jeffrey Deller (Western District of Pennsylvania), a former editor in chief, and the Hon. Michael
Kaplan (District of New Jersey), former business manager of ABLJ. As explained by ABLJ, the Temple Law-ABLJ
partnership was the product of a competitive bidding process. Temple Law hosts ABLJ without charge.
         Separately, the Hon. Craig T. Goldblatt (District of Delaware) and I coach Temple Law’s Duberstein Moot
Court team. I also regularly present my scholarship on panels with and for Bankruptcy Judges.
          For the record, I have never met or spoken with Judges Jones, Isgur, Rodriguez or Perez, of the Southern
District of Texas. I briefly met Judge Christopher Lopez at an academic conference in March, 2024—we sat at the
same table at dinner—but it is improbable he would remember me.
35
  I also know William Harrington, UST for Regions 2 and 3, socially (and of course supported his efforts in Purdue
Pharma through the amicus brief noted above).

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        I have been an expert witness in several matters listed on my resume. I have been deposed
once, in a matter not involving bankruptcy. I have never testified in court. Of note, I was retained
as a consulting expert by the Creditors Committee of Enron Corp. following confirmation of its
plan of reorganization, to assess the work performed by the law firms of Vinson & Elkins and
Andrews Kurth as prebankruptcy counsel to Enron and its affiliated debtors. Those matters settled,
resulting in a payment to the creditors’ trust of about $30 million.36
         B. Conditions
       It is customary for expert reports and the opinions rendered by expert witnesses to be
subject to various conditions and qualifications, the most important of which is the right to
supplement the report and/or the opinion in the light of subsequent facts or developments in the
matter under consideration. I reserve the right to do so.
        This condition, while customary, is especially important in this matter. The schedule set
has required the exchange of Expert Reports September 30, 2024—before the completion of fact
discovery. Certain depositions have been sealed, and I have not seen those. The transcripts of
many of the depositions and other materials evaluated were made available within weeks or days
of the due date of this Report. The compressed schedule for the production of this Report, and the
incomplete nature of the factual record, require me to be especially clear that I reserve the right to
amend this Report and the opinions expressed herein as the record further develops in this and
related matters.
         A list of the materials made available by the UST is attached as Appendix C.37
III.     Factual Background
        Ten days ago, on September 20, 2024 United States Bankruptcy Judge Marvin Isgur—
formerly DJ’s colleague on the “complex cases” panel for the Bankruptcy Court for the Southern
District of Texas—issued an extraordinary letter referring JW and its conduct in connection with
the Relationship for disciplinary action under Rule 6 of the Rules of Discipline of the Local Rules
for the United States District Court for the Southern District of Texas (the “Isgur Letter”).38
       My understanding of the facts of the Relationship and the Cases derives in part from
discovery to this point and the Isgur Letter, as well as the following:
       (i) The Preliminary Response of Jackson Walker LLP to Recent Filings by the Office of
the United States Trustee, In re Neiman-Marcus Group Ltd, LLC, et al., case 20-32519 (MI) Doc
3184 (Bankr. S.D. Tex. November 13, 2023) (“Preliminary Response” or “Prelim. Resp.”);
      (ii) Jackson Walker LLP’s Response in Opposition to the United States Trustee’s Amended
and Supplemental Motion for (1) Relief from Judgment Pursuant to Federal Rule of Civil
Procedure 60(b)(6) and Federal Rule of Bankruptcy Procedure 9024 Approving the Retention and

36
  See Houston’s Vinson & Elkins Settled with Fallen Energy Giant, In re: Comm. of Unsecured Creditors of Enron
Corp., 2006 WL 1889497 (June 2, 2006).
37
  In this regard, I note that I have not had the opportunity to review every item on Exhibit C, every pleading in the
Cases, every item involving or responding to the Motions, or even every page of discovery that has been produced. I
have made a good faith effort to review that which appears to be most plausibly relevant to the scope of this opinion.
38
  See Letter dated Sept. 20, 2024 from Marvin Isgur, United States Bankruptcy Jude to Chief United Stated District
Judge Randy Crane, re: Referral of Jackson Walker LLP, Case 4:24-mc-01523 Doc. 1 (S.D. Tex. Sept. 20, 2024).

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Compensation Applications of Jackson Walker LLP, (2) Sanctions, and (3) Related Relief, In re
Neiman-Marcus Group Ltd, LLC, et al., case 20-32519 (MI) Doc 3234 (Bankr. S.D. Tex May 22,
2024) (“Opposition” or “Opp.”); and
       (iii) The United States Trustee’s Reply To Jackson Walker LLP’s Response In Opposition
To Motion For (1) Relief From Judgment Pursuant To Federal Rule Of Civil Procedure 60(B)(6)
And Federal Rule Of Bankruptcy Procedure 9024 Approving The Compensation Applications Of
Jackson Walker LLP, (2) Sanctions, and (3) Related Relief discovery produced in the Cases, In re:
Auto Plus Auto Sales, LLC et al., Case No. 23-90055 (formerly jointly administered under Lead
Case IEH Auto Parts Holding LLC. Case No. 23-90054 Doc. 150 (Bankr. S.D. Tex. July 1,
2024)(“UST Reply”).
       I understand that the Preliminary Response, the Opposition, and the UST Reply, as well as
the Motions, are substantially similar across the Cases.
            A. The Parties
            1. EF and DJ
         Elizabeth Freeman graduated from Baylor University School of Law in 1997. 39 She was
admitted to the Texas Bar in 1998. 40 Upon graduating from law school, Ms. Freeman clerked for
the Honorable (Ret.) Bankruptcy Judge Wesley Steen in the Southern District of Texas. 41
Following her clerkship, Ms. Freeman began her career as a bankruptcy associate at the law firm
of Locke Lord Bissell & Liddell LLP n/k/a Locke Lord LLPMs. 42 In 2009, EF joined Houston-
based Porter Hedges LLP as a partner in the bankruptcy group and remained until 2011 when she
left to become former Judge Jones’s permanent law clerk. Former Judge Jones was also a partner
at Porter Hedges at that time. 43
        Ms. Freeman “was a nationally recognized and widely respected bankruptcy attorney.” 44
She is one of 96 “specialists” in bankruptcy certified by the Texas Board of Legal Specialization. 45
       After earning his law degree, former Judge Jones joined the bankruptcy boutique firm of
Kirkendall & Isgur.46 When Judge Marvin Isgur was appointed to the bench on February 1, 2004,
former Judge Jones left the firm to join Porter Hedges as a partner in the bankruptcy group. 47
Former Judge Jones “developed a successful bankruptcy litigation practice.”48



39
     Opposition, ¶ 14.
40
     Id.
41
     Id.
42
     Id.
43
     Id.
44
     Opp. ¶ 15.
45
     Id.
46
     Opp., ¶ 17.
47
     Id.
48
     Id.

                                                 10
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        DJ left Porter Hedges to become a United States Bankruptcy Judge for the Southern District
of Texas, and was sworn in as such September 30, 2011.49 EF left Porter Hedges to serve as DJ’s
law clerk, a position she held for approximately six (6) years.50
            2. EF Goes to JW
        In early 2018, EF sought a partnership position at JW.51 She represented that she had no
conflicts of interest in JW’s Lateral Partner Questionnaire, but was “unable to work on an[y][sic]
matter currently pending before Judge Jones.” 52 JW interpreted this as a requirement that DJ made
of former clerks, and was in EF’s case to last six (6) years.53
       According to JW, “[a]t no time during the interview or onboarding process with JW did
Ms. Freeman disclose that she had in the past—or was currently having—an intimate relationship
with former Judge Jones. Nor did she disclose that she lived with former Judge Jones or that they
co-owned residential property.”54
       JW claims that it “had no reason to believe otherwise. And even to this date, JW still does
not know the true state or history of the [R]elationship between former Judge Jones and Ms.
Freeman.”55
            B. The Relationship is Discovered
       JW asserts that on Saturday, March 6, 2021, “the very first allegations of a possible
intimate relationship between former Judge Jones and Ms. Freeman surfaced.” 56 “Pro se litigant
Michael Van Deelen raised these allegations in an email to [JW bankruptcy partner Matthew]
Cavenaugh in connection with his effort to recuse former Judge Jones from the McDermott
bankruptcy proceedings” (the “Van Deelen Email”).57 Mr. Van Deelen asserted that “he had
received an anonymous letter (the “Van Deelen Letter”) claiming former Judge Jones and Ms.
Freeman were in an intimate relationship.” 58


49
     Opp. ¶ 18.
50
     Id.
51
     Opp. ¶ 26.
52
     Id.
53
     Opp. ¶ 27.
54
     Opp. ¶ 28.
55
     Id.
56
     Opp. ¶ 33 (emphasis in original).
57
  Id. Mr. Van Deelen had been a shareholder of McDermott International, whose chapter 11 bankruptcy was one of
the Cases over which Judge Jones presided. Mr. Van Deelen moved to recuse Judge Jones almost a year before he
presented the Van Deelen Letter to Mr. Cavenaugh, on July 23, 2020. Van Deelen v. Dickson (In re McDermott Int’l
Inc.), Adv. No. 20-3309 (Bankr. S.D.Tex.), ECF No. 4 (July 23, 2020) (the “Van Deelen Adversary Proceeding”).
Mr. Van Deelen filed an amended recusal motion and attached an anonymous letter that he said he had received just
days before accusing Judge Jones of “corruption.” Van Deelen v. Dickson (In re McDermott Int’l Inc.), No. 21-3369
(Bankr. S.D. Tex.), ECF No. 33 at 37–38 (Jan. 9, 2023) (Order on Appeal Affirming Dismissal of the Adversary
Proceeding and Denial of Motion to Recuse).
58
     Opp. ¶ 33 (footnotes omitted).

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            1. “It Was All in the Past”
        JW discussed the allegations with Ms. Freeman sooner thereafter.59 At that time, “Ms.
Freeman acknowledged the existence of a prior romantic relationship with former Judge Jones
before the COVID-19 pandemic (i.e., sometime prior to March 2020).”60 “[B]ut,” she stated that
“such romantic relationship was well in the past and was not ongoing. Indeed, Ms. Freeman told a
representative of the firm that she had not even seen former Judge Jones since before the onset of
the pandemic, a year earlier.”61
        As explained below, this would prove to be false, as EF has since testified that she has been
in an intimate relationship with DJ, living with him continuously since 2015.62 Although the
admission of a prior relationship “contradicted the disclosures [EF] made to JW when she joined
the firm,” it appears that JW undertook no independent factual investigation of the allegations.
            2. JW Responds to the Van Deelen Email
        Instead, JW sought to conceal these allegations. JW delivered the Van Deelen Letter to
Judge Jones the morning of March 8, 2021 and asked the clerk of the Bankruptcy Court to seal
it.63 The next day, March 9, 2021, Judge Jones contacted Judge Isgur and asked Judge Isgur to
reassign Mr. Van Deelen’s recusal motion from Judge Jones to another judge; Judge Isgur entered
an order that he would hear the motion to recuse; Judge Jones later signed the order sealing the
Van Deelen Letter.64 It appears that at no time did DJ or JW inform Judge Isgur that EF had by
then admitted that she and DJ had in fact been in the Relationship until March of 2020 (she would
later confess that it never ceased).
       On March 10, 2021, unaware of EF’s admission, Judge Isgur ruled that because the Van
Deelen Letter was anonymous, it was not admissible.65 JW did not make an appearance on the
record at the virtual March 10 hearing, and apparently made no effort to inform Judge Isgur of its
knowledge of the Relationship at and to that point. Nor did it inform its principal co-counsel in
the Cases, Kirkland & Ellis, what it actually knew about the Relationship. 66 Nor did it undertake
any independent factual investigation of the truth of the allegations in the Van Deelen Letter,
although JW has an internal investigations practice.67



59
 It is not entirely clear when Freeman confessed that she had a prior relationship with DJ. It appears to have been
March 7 or 8th, 2021. Freeman Dep. 205:15-16.
60
     Opp. ¶ 34.
61
     Id.
62
  Freeman Dep. 134:21-23; 138: 16-18. It appears that EF and DJ lived together prior to 2017 in a residence known
as 524 Three Corners. Id.
63
     Prelim Resp. Ex. 1 at p.3; Motion, ¶ 22.
64
     Motion, ¶¶ 24 & 25. See also Van Deelen Adversary Proceeding, supra.
65
     Opp. ¶ 41.
66
  Joshua Sussberg, a Kirkland & Ellis partner stated in deposition that “They never told us that there was a confirmed
romantic, financial, or cohabitation arrangement.” Sussberg Dep. 54:25-55:1. JW partner Matthew Cavenaugh
testified in deposition that he forwarded the Van Deelen Letter and email. Cavenaugh Dep. 187:15-19.
67
     Cavenaugh Dep. 189:2-21.

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            3. Seeking Peter Jarvis’s Advice (“Jarvis1”)
        Instead, it appears that JW sought an opinion of ethics expert Peter Jarvis, of Holland &
Knight.68 JW has not produced the request it made of Mr. Jarvis, so it is not clear how the facts or
questions were framed for him. Nevertheless, its Preliminary Response attached an August 2021
draft of a letter from Patrick Cowlishaw, JW’s general counsel, to Mr. Jarvis (“Draft Jarvis
Request”).69 Here, JW stated that “there has been no romantic relationship between Ms. Freeman
and Judge Jones since at least March 2020, and Ms. Freeman, and Judge Jones have not and do
not live together.”70 It also stated that it had “disclosed these matters to our Kirkland co-counsel,
who disclosed them to the client.” 71 The latter statement appears to have been false when made
by JW; the others would turn out to be false (it is not clear how much JW really knew then about
the Relationship).
        Based on these representations Mr. Jarvis began his response by stating that he
“underst[ood] your core question to be whether the steps outlined in your letter” regarding EF “and
the practice that your firm and she have before U.S. Bankruptcy Court Judge David R. Jones are
sufficient to meet public disclosure obligations that Ms. Freeman and your firm may have and to
allow Judge Jones not to have to make further disclosures or to disqualify your firm or himself
from cases on which Ms. Freeman and your firm may work on a going-forward basis.”72




                      Source: Freeman Dep. Ex. 43
        Mr. Jarvis’s letter is devoted largely to the question whether Judge Jones would have to be
disqualified: It does not directly address any of “public disclosure” obligations that EF or JW may
have had.73 Mr. Jarvis concluded that “it is my opinion that a reasonable observer aware of the
surrounding facts and circumstances would conclude that there presently is and will continue to
be an insufficient basis to question Judge Jones’ impartiality.” 74
       JW had apparently set forth for Mr. Jarvis steps it proposed to take to address the
Relationship. All were internal to the firm, and largely involved partially screening EF from

68
  Although JW asserts that JW “immediately consulted” with Mr. Jarvis, Opp. at ¶ 37, they did not actually ask for
his opinion until September 1, 2021—nearly six months later. See Letter dated Sept. 22, 2021 from Peter R. Jarvis to
Patrick R. Cowlishaw, which appears as Exhibit 43 in the Freeman Dep. (“Jarvis1 Letter”).
69
     Prelim Resp. at Ex 1.
70
     Prelim Resp. at Ex 1, pp. 3-4.
71
     Jarvis1 Letter, supra at 1.
72
     Id. at 5 (italics added).
73
  Although Mr. Jarvis does not appear to be a bankruptcy expert, per se, he has rendered expert opinions on the public
disclosure obligations of bankruptcy attorneys. In In re Jore, he testified extensively that the law of Perkins Coie had
breached disclosure duties under the same rules in question in the Cases and the Motions: In re Jore Corp., 298 B.R.
703, 720–21 (Bankr. D. Mont. 2003).
74
     Jarvis1, supra at 4-5.

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working on chapter 11 cases before DJ.75 It does not appear that JW made any effort to amend
Rule 2014 statements filed in the Cases made during the period when it now knew that EF had
been in a romantic relationship with DJ (i.e., from 2018 to 2020).
           C. Actually, It’s Not All in the Past
           1. JW Learns that EF and DJ are Still Together—February, 2022.
       Despite EF’s assurance that the Relationship had ended, on February 1, 2022, a JW non-
bankruptcy partner was told by a “credible third party” that the Relationship was in fact
continuing.76
        Although JW’s management planned to “again confront” EF, EF did not “finally admit[]
that she and Judge Jones had rekindled their relationship” for nearly two months, on March 30,
2022.77 She continued “to deny that she and former Judge Jones were living together and she
never mentioned the co-ownership of residential property.”78
       According to JW, “Ms. Freeman’s initial lies and eventual revelation thrust JW into an
unprecedented situation. The law firm knew the status quo was not appropriate, yet, the situation
involved a highly personal matter involving a sitting Federal Bankruptcy Judge who, as late as
October 2023, was convinced that his interpretation of the applicable rules did not require
disclosure of the relationship with Ms. Freeman. These unprecedented circumstances required a
thoughtful approach.”79
       That may be true, but it is not clear what JW was thinking. Rather than undertake an
independent investigation to determine the truth about this “unprecedented situation,” JW again
chose concealment over disclosure.
           2. Jarvis2: Disclose or Withdraw
        JW again sought the advice of Mr. Jarvis.80 As with the first letter from Mr. Jarvis, it is
unclear what JW told or asked him. Nevertheless, in a memorandum dated June 2, 2022 from
Peter R. Jarvis and Jacqueline N. Harvey to Jackson Walker LLP (“Jarvis2”) it appears that Mr.
Jarvis told JW in no uncertain terms that it should disclose what it knew of the Relationship to its
clients and thereafter make disclosure or seek recusal.81 If the client failed to authorize such
disclosure, Jarvis2 advised that JW must withdraw from its representations in the Cases.




75
     Prelim Resp. at Ex 1, pp. 5.
76
     Prelim. Resp. ¶ 16; Opp. ¶ 46.
77
     Opp. ¶¶ 47 & 48.
78
     Opp. ¶ 48.
79
     Opp. ¶ 50.
80
     Opp. ¶ 52.
81
     Jarvis2 appears as Cavenaugh Dep. Ex. 112.

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            Source: Cavenaugh Dep. Ex. 112.
        Jarvis2 started from the supposition that, in the JW’s rendering of the situation, JW
represented parties with a “conflict of interest that the judge was and is required to disclose under
28 U.S.C. § 455 but has not disclosed.” 82 This provides that a judge must “disqualify himself in
any proceeding in which his impartiality might [] reasonably be questioned.” 83 Because this
provision “‘focuses on the appearance of impartiality, as opposed to the existence in fact of any
bias or prejudice, a judge faced with a potential ground for disqualification ought to consider how
his participation in a given case looks to the average person on the street.’” 84
            Jarvis2 reasoned that applicable ethics rules required JW to disclose DJ’s conflict with its
clients.85 This was required “even if the lawyer was not personally certain that the judge had failed
to make a necessary disclosure but just believed that there was a material risk of the case taking a
turn unfavorable to the lawyer’s client” as a result of future adverse rulings or the need to relitigate
the underlying matters (e.g., due to a Rule 60(b)(6) vacatur).
        Even if an informed client directed counsel not to make further disclosure, the lawyer
would be at risk of violating Rule of Professional Conduct 8.04(a)(6), Jarvis2 observed, which
forbids a lawyer from “knowingly assist[ing] a judge or judicial official in conduct that is a
violation of applicable judicial conduct.” 86 Although a lawyer in this position could feign
ignorance under the “knowingly” standard, Jarvis2 opined that “the likelihood of the lawyer
prevailing on such a defense is low” because it was “difficult to identify a plausible and non-
frivolous argument as to why disclosure is not necessary.”87 Nor could JW claim that simply
saying or doing nothing would suffice. That would be the equivalent of “impermissible assistance”
to a judge.




            Source: Cavenaugh Dep. Ex. 112.



82
     Jarvis2 at 1.
83
     Id.
84
     Id. (quoting Potashnick v. Port City Const. Co., 609 F.2d 1101, 1111 (5th Cir. 1980)).
85
     Id. at 2 (citing Rule of Professional Conduct 1.03).
86
     Id. at 3 (quoting RPC 8.04(a)(6)).
87
     Id.

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       In the face of this unequivocal guidance—“the lawyer must either do or say something
about the conflict or withdraw” (id. 4)—JW again did neither. It did not inform its cocounsel,
Kirkland & Ellis,88 and did not otherwise seek client consent. Nor did it amend any of its public
disclosures in the cases.
           D. Say Nothing
        Instead, JW decided that “Ms. Freeman’s departure from the law firm was the only path
forward.”89 Incredibly, JW also rejected advice from both EF’s personal counsel and from DJ
himself, both of whom by June of 2022 urged that JW make some form of disclosure. To be sure,
the disclosures each recommended were problematic because they would merely have stated that
EF and DJ had a “close personal relationship,” indistinguishable from relationships DJ had with
others.90 For these reasons, JW recognized that such proposed disclosures were “inadequate” and
“misleading.”91
           JW’s solution? Say nothing at all.
           1. The Confidential Withdrawal Agreement
        Rather than disclose or withdraw, as Mr. Jarvis advised, JW decided to further bury
evidence of the Relationship, through a “Confidential Withdrawal Agreement” between JW and
EF dated November 30, 2022 (“CWA”).92 Under the CWA, EF agreed to withdraw as an equity
partner of JW, and the two parties agreed on an allocation of her owed income, benefits and similar
matters.93 The CWA also contemplated that EF and JW would continue to “work together as co-
counsel in future matters, excluding matters before Judge Jones . . . . JW and [EF] each commit to
use reasonable best efforts to realize future opportunities to work together to our mutual benefit,
but each also agrees that neither has made any commitment to the other regarding any volume of
work or any compensation.”94




           Cavenaugh Dep. Ex. 77.

      For purposes of this opinion, the most important provision in the CWA is its confidentiality
term. The CWA provides that “JW and [EF] agree that this Agreement, all of its terms and

88
     Sussberg Dep. 70:23-25-71:1-25.
89
     Opp. at ¶ 53.
90
     Opp. at ¶¶ 52 & 56.
91
     Opp. at ¶ 57.
92
     The CWA appears as Cavenaugh Dep. Ex. 77.
93
     CWA ¶¶ 3-5.
94
     CWA ¶ 7.

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conditions and all preceding discussions between you and JW, regarding your relationship with
Judge Jones (“Covered Matters”) are confidential and shall not be disclosed or revealed to any
third party.” It contains several exceptions, including “as otherwise may be required by law.”




        Cavenaugh Dep. Ex. 77.

        I draw three inferences from the confidentiality provision of the CWA:
        First, it appears that the CWA was intended to minimize the likelihood that the Relationship
(or the CWA itself) would be disclosed publicly. It would also contractually preclude JW and EF
from disclosing the Relationship to clients of either (or both) of them.
       Second, it appears that JW and EF have in fact treated the Relationship and the CWA as
confidential. I am aware of no case in which the Relationship or the CWA have been disclosed in
any Rule 2014 statement.
       Third, it appears that JW believed that this confidentiality provision would enable it to
avoid disclosing to clients or the court any continued representation as cocounsel with EF before
Judge Jones—despite JW’s repeated assurance that that would not be the case.95 In In re Sorrento
Therapeutics, for example, in March of 2023—long after JW knew EF had repeatedly lied about
the Relationship—JW “strongly recommend[ed]” that it hire EF as conflicts and special counsel
but did not disclose the Relationship or its history to either the DIP or the court. 96 The Sorrento
case was initially assigned to Judge Jones.




95
  After executing the Confidential Withdrawal Agreement, Cavenaugh testified that EF and JW continued to work
together, albeit not on cases in front of DJ. Cavenaugh Dep. 280: 13-19. JW would “strongly” recommend that EF
be hired as conflicts counsel.
96
  Application to Retain Jackson Walker LLP as Co-Counsel and Conflicts Counsel for the Debtors and Debtors-in-
Possession, Case 23-90085 Doc 231(Bankr. S.D. Tex. March 15, 2023), Ex. A at 3 (engagement letter).

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           Source: Application to Retain Jackson Walker LLP as Co-Counsel and Conflicts Counsel
           for the Debtors and Debtors-in-Possession, Case 23-90085 Doc 231 (Bankr. S.D. Tex.
           March 15, 2023), Ex. A at 3 (engagement letter).
       It appears that, even after EF separated from JW, she continued to participate in “informal
mini-retreats” involving JW bankruptcy attorneys.97
           2. What Is the Relationship? EF and DJ Buy a Home and Live There—June 2017
        JW often claims that “even to this date, JW still does not know the true state or history of
the relationship between former Judge Jones and Ms. Freeman.”98 While it may be the case that
JW had little or no actual knowledge of the Relationship prior to March 6, 2021, it would appear
that even a basic search of public records as of that date—when the Van Deelen Letter first alleged
the existence of the Relationship—would have revealed their co-ownership since 2017 of a
property at 6530 Rolla St, Houston, Texas (“Rolla Property”).
         On or about June 26, 2017, it appears that EF and DJ recorded a general warranty deed on
a home at 6530 Rolla, Houston, Texas 77018-8103 (“Rolla Deed”). I understand from the UST
that this is a true and correct image of a certified, and publicly available copy, of the Rolla Deed.




           Source: UST_0773
      On the same day, they also recorded a survivorship agreement indicating their joint
ownership of the Rolla property.




           Source: UST_0777
       It appears that EF paid $250 May 8, 2017 to acquire an option to purchase the Rolla
Property.

97
  JW partner Matt Cavenaugh testified that EF attended “an informal mini-retreat for the debtor team partners or
partners to be or associates that were soon to be up for partner.” Cavenaugh Dep. 287:13-15. The goal “to just talk
about ways that we can improve our practice and provide better client service and raise the profile of the firm.” Id. 16-
19. These do not sound like activities of an attorney who has separated from a law firm.
98
     Opp. at ¶ 28.

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           Source: UST_7993

           EF paid ad valorem taxes on that property.




           Source: UST_7992
       It appears that EF and DJ lived together at the Rolla Property, with EF’s children,
continuously from 2017 to the present. 99




           Source: Freeman Dep. 145:1-25-146:1-13.
       It is undoubtedly true that, in some respects, all relationships are ineffable to the outside
observer. But that is not what JW mean when they argue that they do not know the truth about the
Relationship. JW would have us believe that they neither knew nor had reason to know that EF

99
     Freeman Dep. 145:1-25-146:1-13.

                                                  19
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and JW were in a continuous, cohabitational relationship which in many respects appears to have
resembled a marriage.
        But the Rolla Deed and survivorship agreement were public documents that could readily
have been discovered through a modestly diligent search. While JW may have had little reason to
conduct that search prior to March 6, 2021, once EF admitted to a prior relationship with DJ, it is
difficult to understand how and why they failed to attempt to make this discovery. After February,
2022—when JW learned that the Relationship was continuing—the only plausible explanation is
willful ignorance.
IV.        The Role of Disclosure and Transparency in Chapter 11 Reorganization
        Chapter 11 is no place for willful ignorance of actual or potential conflicts of interest. The
integrity of the chapter 11 bankruptcy system depends on the integrity of the lawyers who manage
its day-to-day operations. Because bankruptcy judges cannot be expected to police large and
complex cases, the Bankruptcy Code and Federal Rules of Bankruptcy Procedure impose on
attorneys employed by the estate significant disclosure obligations both to assure that all
stakeholders can identify possible conflicts and to deter those with disabling conflicts from seeking
such employment in the first place.
           A. Lawyer Disclosure Obligations
         The Bankruptcy Code requires that a professional retained by the debtor in possession not
“hold or represent an interest adverse to the estate,” and that the professional be “disinterested.”100
The term “disinterested” is defined in 11 U.S.C. § 101(14) as a person (1) who “is not a creditor,
an equity security holder, or an insider,” (2) who “is not and was not, within 2 years before the
date of the filing of the petition, a director, officer, or employee of the debtor,” and (3) who “does
not have an interest materially adverse to the interest of the estate or of any class of creditors or
equity security holders, by reason of any direct or indirect relationship to, connection with, or
interest in, the debtor, or for any other reason.”101 It would seem that an intimate, ongoing
romantic and financial relationship with a judge before whom an attorney appears would prevent
that attorney from being “disinterested.”
       In the Fifth Circuit, “[t]he standards for finding a conflict are “‘strict’” and “attorneys
engaged in the conduct of a bankruptcy case ‘should be free of the slightest personal interest which
might be reflected in their decisions concerning matters of the debtor's estate or which might
impair the high degree of impartiality and detached judgment expected of them during the course
of administration.’”102
        The Bankruptcy Code’s ethical standards are enforced in the first instance by the disclosure
requirements of Rule 2014. “Federal Rule of Bankruptcy Procedure 2014(a) requires any
professional applying for employment to set forth ‘to the best of the applicant’s knowledge’ all
known connections of the applicant with the ‘debtor, creditors, or any other party in interest, their
respective attorneys and accountants, the United States trustee, or any person employed in the


100
      11 U.S.C. § 327(a); In re W.F. Dev. Corp., 905 F.2d 883, 884 (5th Cir. 1990).
101
      11 U.S.C. § 101(14); W.F. Dev. Corp., 905 F.3d at 884.
102
  Waldron v. Adams & Reese, L.L.P. (In re Am. Int'l Refinery, Inc.), 676 F.3d 455, 462 (5th Cir. 2012) (quoting West
Delta Oil, 432 F.3d at 355 (quoting In re Consol. Bancshares, Inc., 785 F.2d 1249, 1256 & n.6 (5th Cir. 1986)).

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office of the United States trustee.’”103 The disclosure requirements of Rule 2014(a) “are broader
than the rules governing disqualification, and an applicant must disclose all connections regardless
of whether they are sufficient to rise to the level of a disqualifying interest under Section
327(a).”104
       Courts may deny all compensation to professionals who fail to make adequate disclosure,
and “counsel who fail to disclose timely and completely their connections proceed at their own
risk because failure to disclose is sufficient grounds to revoke an employment order and deny
compensation.”105 In determining an appropriate sanction, the Fifth Circuit has stated that “‘an
important consideration is whether the failure was intentional.’”106 Even where there is no
disqualifying conflict and “no harm or prejudice to the estate or creditors resulted,” a court may
impose sanctions for disclosure errors. 107
           The duty to disclose connections under Rule 2014 “continues throughout the chapter 11
case.”108 Collier on Bankruptcy, the nation’s leading bankruptcy treatise, explains that “[n]ewly
discovered information or any change in circumstances must be disclosed. An attorney has an
affirmative duty to disclose such potential conflicts so that the appropriateness of employment will
be subject to the independent judgment of the court.”109
        JW may object that some of the Cases were already closed by the time the UST filed the
Motions. Surely, they would argue, that is too late to force JW to amend its filings. But, the passage
of time is not necessarily a reason to fail to update filings if they are known to be false. In the
notorious Bucyrus-Erie bankruptcy, a creditor sought the disgorgement of fees based on
allegations of inadequate 2014 disclosures which came to light two years after the debtors’ plan of
reorganization was confirmed. 110



103
      West Delta Oil, 432 F.3d at 355 (quoting Fed. R. Bankr. P. 2014(a)).
104
    Waldron, 676 F.3d, at 465 (citing In re Cornerstone Prods., Inc., 416 B.R. 591, 608 (Bankr. E.D. Tex. 2008)
(stating that "all" connections must be disclosed); In re Leslie Fay Cos., 175 B.R. 525, 533 (Bankr. S.D.N.Y. 1994)
(same).
105
   West Delta Oil, 432 F.3d at 355 (quotation marks omitted); see also Rome v. Braunstein, 19 F.3d 54, 59-60 (1st
Cir. 1994) (“Absent the spontaneous, timely and complete disclosure required by section 327(a) and [Rule] 2014(a),
court-appointed counsel proceed at their own risk.”).
106
   Waldron, 676 F.3d at 466 (quoting Crivello, 134 F.3d at 839 (stating that “a bankruptcy court should punish a
willful failure to disclose the connections . . . as severely as an attempt to put forth a fraud on the court.”).
107
      Waldron, 676 F.3d at 465 (20% of compensation awarded).
108
      In re Ridgeway, No. 16-10643, 2018 Bankr. LEXIS 531, *5 (Bankr. E.D. La. Feb. 27, 2018).
109
   3 COLLIER ON BANKRUPTCY ¶ 327.04 (Richard Levin & Henry J. Sommer eds., 16th ed). See also In re Harris
Agency, LLC, 451 B.R. 378, 390 (Bankr. E.D. Pa.), aff'd sub nom. In re The Harris Agency, LLC, 462 B.R. 514 (E.D.
Pa. 2011) (“Most importantly, the duty to disclose does not end once the Rule 2014 Verified Statement has been filed;
rather, there is an ongoing duty of counsel to inform the court of its connections and potential conflicts.”).
110
    It appears that the Bucyrus-Erie plan of reorganization was confirmed in December 1994. Bucyrus-Erie According
to the Defendant-Appellant, 33 No. 4 Bankr. Ct. Dec. News 9 (October 13, 1998). Creditor Jackson-National did not
seek disgorgement of fees, based on claims that Milbank partner John Gellene’s 2014 disclosures were inaccurate
until December 1996. United States v. Gellene, 182 F.3d 578, 584 (7th Cir. 1999). Thereafter, Mr. Gellene was
charged, tried and convicted of making false filings in the bankruptcy. Id.

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         While it is not clear how long the duty to update a 2014 disclosure lasts, or how far back it
reaches, here it arose in March 2021 for Cases involving EF and DJ prior to March 2020 and for
all of the Cases after JW learned the Relationship was continuing, in February, 2022.
           B. Judicial Obligations
        JW’s position is that FRBP 2014 does not specifically refer to judges, and thus infers that
there is and was no obligation to disclose EF’s relationship with DJ: “JW had no obligation to
disclose any connections with a presiding judge or mediator under Bankruptcy Rule 2014.”111
Instead, it is their contention that obligation to anticipate and rectify any failing arising from the
Relationship fell exclusively on Judge Jones.
      Federal Rule of Bankruptcy Procedure 5002(b) forbids a bankruptcy judge from approving
an employment application of someone closely connected with that judge:
           A bankruptcy judge may not approve the appointment of a person as a trustee or examiner
           pursuant to §1104 of the Code or approve the employment of a person as an attorney,
           accountant, appraiser, auctioneer, or other professional person pursuant to §§ 327, 1103,
           or 1114 of the Code if that person is or has been so connected with such judge or the United
           States trustee as to render the appointment or employment improper.112
       It is not, however, clear that the judge’s duties insulate a lawyer from an independent duty
to report a connection to the judge. The Notes of the Advisory Committee on Rules (1985
Amendment) imply that counsel has an independent duty to disclose connections to the judge.
           The policy underlying subdivision (b) is essentially the same as the policy embodied in the
           Code of Judicial Conduct. Canon 2 of the Code of Judicial Conduct instructs a judge to
           avoid impropriety and the appearance of impropriety, and Canon 3(b)(4) provides that the
           judge “should exercise his power of appointment only on the basis of merit, avoiding
           nepotism and favoritism.” Subdivision (b) ... indicates to [the potential appointee or
           employee] that appropriate disclosure must be made to the bankruptcy court before
           accepting appointment or employment.113
       There is little doubt that disclosure of attorney connections to a bankruptcy judge would
appear to be the better practice and the one more consistent with the transparency goals of chapter
11. Thus, JW’s co-counsel in many, if not all, of the Cases appears to have done so. 114 Professor
(and former Dean) Nancy Rapoport—perhaps the nation’s leading expert on legal ethics in
bankruptcy—indicates that she believes it is a best practice, one which she observes when she is

111
   See, e.g., Opposition at ¶ 109. See id. at ¶ 108 (Rule 2014’s “language is limiting,113 persons not enumerated in
the rule’s text are not within its scope”).
112
      Fed. R. Bankr. P. 5002(b).
113
      Fed. R. Bankr. P. 5002(b), advisory committee's note to 1985 amendment (emphasis added).
114
    See Tom Hals, Law Firm Tied to Bankruptcy Judge Resignation Did Not Make Conflict Disclosures--Data
Analysis, Reuters (Oct. 30, 2023, 10:50 AM), https://www.reuters.com/legal/law-firm-tied-bankruptcy-judge-
resignation-did-not-make-conflict-disclosures-2023-10-30/ (“Law firms and other professionals employed by debtors
are required under a bankruptcy rule to publicly list potential connections so that judges and other parties in the
bankruptcy can assess if there might conflicts of interest. The rule does not mention judges specifically; it refers to
debtors, creditors and ‘parties in interest.’ But disclosing connections to judges appears to be a standard practice. In
the court filings Reuters reviewed, the larger national law firms that worked for the debtor alongside Jackson Walker
always indicated that they had searched for connections to the judges on the bankruptcy court.”).

                                                          22
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retained as an expert witness or fee examiner in a chapter 11 case. 115 Thus, as Professor Rapoport
notes, “Disclosure about connections to the judge or other court personnel is important to ensure
that the appointment of a professional to a case and the approval of any fees awarded to that
professional satisfies the Bankruptcy Code and Rules.”116
        JW’s principal co-counsel in the Cases, Kirkland & Ellis, views an attorney’s connection
to a judge before the firm appears as one that must be disclosed. “[I]f we had actual knowledge of
a romantic relationship between a judge and a lawyer work[ing ]with us as local or co-counsel,”
Mr. Sussberg testified, it “absolutely would’ve been something to ensure that Number 1, the case
wasn’t tarnished because of that relationship and it was out [in] the public. . . . And, Number 2, .
. . we have a reputation and a brand that we’re protecting. And to the extent we knew of a
relationship, we absolutely would’ve done whatever needed to be done to have that disclosed.” 117
            C. The Historic Need for Disclosure
       Courts insist on robust disclosure in bankruptcy because that is what Congress wanted. In
studying bankruptcy practice in the 1970s, and ultimately in enacting the Bankruptcy Reform Act
of 1978, Congress intended to eliminate the perception that there was a “bankruptcy ring” of
professionals controlling bankruptcy practice. 118 Under pre-Code practice, a “referee,” rather than
a judge, had both administrative and judicial duties in bankruptcy. This could lead to
inappropriately close relationships with trustees and their professionals. As the legislative history
explains:
            When the referee has appointed, or approved the appointment of, a trustee to take charge
            of the property of the estate, has supervised and perhaps instructed the trustee in the
            performance of his duties, and has approved the trustee's choice of counsel and the
            initiation of an action, the referee may not appear to the trustee's adversary as one fitting
            the model of judicial objectivity. . . . The responsibility resting on a conscientious referee
            under the present act is thus conducive to the development of what appears to attorneys
            who are not included among the specialists, to their clients, and to the public generally, as
            an unseemly and continuing relationship between the referee and the members of the
            specialist bar. He is thus vulnerable to being linked by imputation to the so-called
            ‘bankruptcy ring,‘ which is the opprobrious label frequently given to the specialized
            bankruptcy bar in a community.. . . . Even if a paragon of integrity were sitting on the bench
            and could keep his mind and feelings insulated from influences which arise from his
            previous official connections with the case before him and with one of the parties to it, he
            probably could not dispel the appearance of a relationship which might compromise his
            judicial objectivity. The commission accordingly recommends that the bankruptcy judges
            be removed from the administration of bankrupt estates and be restricted to the


  . Rapoport, supra at 391 (“For the record, my practice is to disclose my connections to a court and to any court
115

personnel in my own retentions as an expert or as a fee examiner. I believe that disclosing connections to the court or
the court's personnel should be considered a best practice, and I also believe that Rule 2014 should be amended to
move this type of disclosure from “best practice” to a requirement.”).
116
      Id. at 374.
117
      Sussberg Dep. 35:16-25; 36:1-6.
118
   Hon. Terrence L. Michael et. al., NCBJ Special Committee on Venue: Report on Proposal for Revision of the Venue
Statute in Commercial Bankruptcy Cases, 93 AM. BANKR. L.J. 741, 760–61 (2019).

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           performance of essentially judicial functions, that is, primarily to the resolution of disputes
           or issues involving adversary parties and matters appropriate for judicial determination. 119

        If administration of the day-to-day affairs of a bankruptcy might lead to the appearance of
impropriety, what would Congress think of a bankruptcy judge who lived almost as spouses with
an attorney who appeared regularly before him? Would Congress assume, as it appears JW did,
that there was simply nothing to disclose because that was the judge’s job? Would it imagine that
the rules it authorized the Supreme Court to promulgate for practice under chapter 11 would be
used to justify disclosure failings, displacing and neutralizing otherwise applicable state
professional ethics rules?
           I do not think so.
 V.        Analysis of JW’s Acts and Omissions Regarding Disclosure
           A. Imputation of EF’s Conflict to JW
       JW asserts that it “did not violate the Bankruptcy Code, Bankruptcy Rules, or Texas
Disciplinary Rules of Professional Conduct because, among other things. . . . Ms. Freeman’s
knowledge and alleged lack of disinterestedness are not imputed to JW.”120 Rather, imputing EF’s
knowledge of the Relationship to JW “is at odds with foundational corporate and alternative-entity
law principles in Texas and throughout the country.”121
           1. Texas Partnership Act
       This is incorrect. The Texas Revised Partnership Act (“Partnership Act”) recognizes that
agency law also applies to limited liability partnerships, such as JW.122 Under the Partnership Act
JW would be liable for its partner’s acts in the ordinary conduct of the business. 123 Here, while
the Relationship was clearly unusual—perhaps “unprecedented,” in JW’s words124—it furthered
both the interests of EF and JW. There was nothing unprecedented about their shared interest in
maximizing the visibility and profitability of JW as a leading a chapter 11 practice in Texas. Under
the Partnership Act, and for these purposes, JW was EF, and vice versa. Jackson Walker
understood this because it acknowledged that its attorneys connections were the firm’s connections
when it sought retention.125



119
      H.R. Rep. 95-595, 50-51, 1978 U.S.C.C.A.N. 5963, 6012 (emphasis supplied).
120
      Opp. ¶ 79.
121
      Opp. ¶ 119, n. 134.
122
   See Tex. Bus. Orgs. Code § 152.003 (“The principles of law and equity and the other partnership provisions
supplement this chapter unless otherwise provided by this chapter or the other partnership provisions.”).
123
   See Tex. Bus. Orgs. Code § 152.303(a)(1) (“A partnership is liable for loss or injury to a person, including a partner,
or for a penalty caused by or incurred as a result of a wrongful act or omission or other actionable conduct of a partner
acting . . . in the ordinary course of business of the partnership . . . .”).
124
      Opp. ¶¶ 50 & 183.
125
    See, e.g., In re Basic Energy Services, Inc., No. 21-90002, ECF No. 809, Jackson Walker Retention Appl.
(disclosing that “to the best of the Debtors’ knowledge, these attorneys have no interest adverse to the Debtors, or to
the Debtors’ bankruptcy estates, and are disinterested.”) (emphasis added).

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        Still, JW would ignore this because it asserts that other JW attorneys besides EF had to
have actual knowledge of the Relationship—a form of knowledge they disavow to this day. 126
“Texas law that imputes knowledge from one attorney to her entire firm (a) implicates only a
certain kind of knowledge (i.e., the attorney’s knowledge of a client’s protected, confidential
information), and (b) does so for the limited purpose of enforcing ethics rules governing, inter alia,
concurrent representations and former-client conflicts.”127
        This appears to be incorrect because Texas embraces an unusual rule on imputation of
attorney conflicts. It appears to impute personal interest conflicts to all partners, regardless of
knowledge.
           2. Texas’s Imputation of Personal Interest Conflicts
       The Texas Disciplinary Rules of Professional Conduct (“TDRPC”) apply to those members
of JW who were admitted to practice in Texas.128 In addition to EF—a Texas-approved
“specialist” in bankruptcy129—this included bankruptcy partners Matthew Cavenaugh,130
Genevieve Graham, 131Veronica Polnick,132 and Bruce Ruzinsky.133
        When a law firm partner is related to a judge within the third degree and is counsel in a
case, the Fifth Circuit has found that he or she “automatically has an interest that could be
substantially affected by the outcome of the proceedings.” 134 Texas Disciplinary Rule of
Professional Conduct 1.06(b)(2) provides in pertinent part that “except to the extent permitted by
paragraph (c) [informed client consent], a lawyer shall not represent a person if the representation
of that person . . . (2) reasonably appears to be or become adversely limited by the lawyer’s or law
firm’s responsibilities to another client or to a third person or by the lawyers’ or the law firm’s
own interests.”135


126
   Opp. ¶ 28 (“even to this date, JW still does not know the true state or history of the relationship between former
Judge Jones and Ms. Freeman”)(emphasis in original).
127
      Opp. ¶ 126.
128
   The anti-conflict provisions contained in the Bankruptcy Code “find their counterparts in the codes of professional
responsibility that govern the practice of law generally.” In re Marine Power & Equip. Co., Inc., 67 B.R. 643, 654
(Bankr. W.D. Wash. 1986). Thus, some courts—including those in the Fifth Circuit—have suggested that the Model
Code regulates the conduct and disqualification of attorneys practicing before the federal courts, and that it is a
guideline for the bankruptcy court to follow in applying the disinterested person standard. See, e.g., In re Macon
Prestressed Concrete Co., 61 B.R. 375, 378 (Bankr. M.D. Ga. 1986) (citing Brennan's Inc. v. Brennan's Restaurants,
Inc., 590 F.2d 168, 172 n.15 (5th Cir. 1979); Woods v. Covington County Bank, 537 F.2d 804, 810 (5th Cir. 1976)).
129
      Opp. ¶ 15.
130
      https://www.jw.com/people/matthew-cavenaugh/.
131
      https://www.jw.com/people/genevieve-graham/.
132
      https://www.jw.com/people/veronica-polnick/.
133
      https://www.jw.com/people/bruce-ruzinsky/
134
      McCuin v. Tex. Power & Light Co., 714 F.2d 1255, 1259 (5th Cir. 1983).
135
    The exception in (c) does not apply because it requires “client consent” to the representation “after full disclosure
of the existence, nature, implications, and possible adverse consequences of the common representation and the
advantages involved, in any.” There is no evidence that any client of JW’s in the Cases knew of, much less consented
to, the conflict created by virtue of the Relationship.

                                                          25
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        Here, EF would not be permitted to represent any debtor if representation “reasonably
appears to be . . . adversely limited by [EF’s] responsibilities to . . . a third person or by [EF’s]
own interests.” Here, EF’s “responsibilities” to DJ (a “third person”) and her “own interests” —
both personal and as to their jointly owned property—would “reasonably appear” to “adversely
limit” her ability to represent debtors before Judge Jones. It is presumably for this reason that JW
asked EF to withdraw as an equity partner from JW once they finally confirmed the existence and
improper nature of the Relationship in March 2022.
        JW would assert that the buck should stop with EF, and not be imputed to the rest of JW.
If the ABA Model Rules of Professional Conduct (MRPC) 1.7 and 1.10 applied, they might be
correct. MRPC 1.7(a)(2) provides that a concurrent conflict exists if “there is a significant risk
that the representation of one or more clients will be materially limited by the lawyer's
responsibilities to another client, a former client or a third person or by a personal interest of the
lawyer.” Such an interest would not generally be imputed to other attorneys at the same firm,
however, by virtue of the Model Rules provisions which generally preclude imputation of personal
interest conflicts.136
       But Texas does not follow the Model Rule on imputation in this regard. Rather, the
Professional Ethics Committee for the State Bar of Texas (“Texas Ethics Committee”) explains
that Texas will impute personal interest conflicts without apparent regard to knowledge—actual
or constructive—by rule 1.06(f). This rule provides that “[i]f a lawyer would be prohibited by this
Rule [1.06(b)(2)] from engaging in particular conduct, no other lawyers while a member or
associated with that lawyer’s firm may engage in that conduct.
         Ethics Opinion 666 of the Texas Ethics Committees explains:
         A Rule 1.06(b)(2) conflict of interest will usually exist when both spouses are personally
         involved in representing opposing parties in the same matter, or when either spouse, for
         whatever reason, has a material personal interest in the outcome of the matter. In other
         circumstances, resolution of the issue requires consideration of all the circumstances,
         including, without limitation, (1) the nature of the matter and the issues involved; (2)
         whether either spouse will be directly involved in the representation, and if so the nature
         and extent of such involvement; (3) whether and to what extent the outcome of the
         representation may have a financial effect on either spouse; (4) the positions of the spouses
         within their firms; and (5) whether the lawyers handling the representation have a close
         working relationship with the lawyer-spouse in the same firm. It should be noted that, under
         the facts considered in this opinion, each spouse knows that his or her firm is representing
         a client in a matter directly adverse to a client of the other spouse’s firm.

         Although there is significant merit to the ABA's approach regarding imputation of
         “personal interest” conflicts, no such exception exists under the Texas Disciplinary Rules
         of Professional Conduct. Rule 1.06(f) provides:
         ‘If a lawyer would be prohibited by this Rule from engaging in particular conduct, no other
         lawyer while a member or associated with that lawyer's firm may engage in that conduct.’


136
    MRPC 1.10(a)(1) (excepting from imputation a conflict “based on a personal interest of the disqualified lawyer
[that] does not present a significant risk of materially limiting the representation of the client by the remaining lawyers
in the firm”).

                                                           26
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         Rule 1.06(f) requires imputation of personal interest conflicts under Rule 1.06(b)(2).
         Consequently, if a lawyer would be prohibited from undertaking representation on a matter
         because the representation “reasonably appears to be or become adversely limited” by the
         lawyer's relationship with the lawyer's spouse, no other lawyer in the firm may undertake
         the representation without obtaining the client's informed consent under Rule 1.06(c). The
         Committee appreciates that the firm-wide imputation of spousal conflicts may in some
         cases lead to harsh results but those results are dictated by the current provisions of Rule
         1.06(f).137

         3. If It Looks Like A Marriage, It Probably Is a Marriage for Professional Conduct
            Purposes
        Whether a “personal interest” conflict exists “will depend on the circumstances,” the
Professional Ethics Committee explains. “If the circumstances are such that it reasonably appears
a lawyer’s spousal relationship will adversely limit the lawyer’s representation, neither the lawyer
nor any other lawyer in his or her law firm may undertake or continue the representation without
obtaining the client’s informed consent under Rule 1.06(c).”
        JW would doubtless object, as did Judge Jones,138 that this rule does not apply because they
were not married. This would fail, however, because “[l]awyers who cohabit in an intimate
relationship should be treated similarly to married couples for conflicts purposes. The same is true
for couples who are engaged to be married or in exclusive intimate relationships.”139 It would
appear that the Relationship approximated these qualities. 140


137
     See Tex.   Pro.   Ethics   Comm.,     Formal   Op.  666                   (2016),     available    at    https://tcle-
web.s3.amazonaws.com/public/documents/Opinion-666_UB8ZRRr.pdf.
138
    Alexander Gladstone & Andrew Scurria, Bankruptcy Judge Jones Named in a Lawsuit over Romantic Relationship
with Local Lawyer, Wall St. J. (Oct. 7, 2023, 7:57 PM), https://www.wsj.com/articles/bankruptcy-judge-jones-named-
in-a-lawsuit-over-romantic-relationship-with-local-lawyer-71df2c00. (“Jones said he believes the relationship didn't
need to be disclosed because he and Freeman aren't married and there was no economic benefit to him from her legal
work.”).
139
   ABA Formal Opinion 494, Conflicts Arising Out of a Lawyer’s Personal Relationship with Opposing Counsel, 5
(July 29, 2020).
140
   The ABA has recently recognized that intimate personal relationships that are analogous to marriage, such as
cohabitation of the sort apparently involved in the Relationship, is functionally equivalent to marriage for purposes of
judicial recusal:
         A judge must disqualify himself or herself when the judge has a romantic relationship with a lawyer or party
         in the proceeding, or desires or is pursuing such a relationship. As the New Mexico Supreme Court has
         observed, “the rationale for requiring recusal in cases involving family members also applies when a close
         or intimate relationship [between a judge and a lawyer appearing before the judge] exists because, under such
         circumstances, the judge’s impartiality is questionable.” A judge should disclose other intimate or close
         personal relationships with a lawyer or party to the other lawyers and parties in the proceeding even if the
         judge believes that he or she can be impartial. If, after disclosure, a party objects to the judge’s participation
         in the proceeding, the judge has the discretion to either continue to preside over the proceeding or to
         disqualify himself or herself. The judge should put the reasons for the judge’s decision to remain on the case
         or to disqualify himself or herself on the record.”
ABA Formal Opinion 488, Judges’ Social or Close Personal Relationships with Lawyers or Parties as Grounds for
Disqualification   or     Disclosure,   Sept    5,    2019,     available    at    https://lawsintexas.com/wp-
content/uploads/2023/09/aba_formal_opinion_488.pdf (footnotes omitted; emphasis supplied). Of course, it also true

                                                           27
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        JW may argue that DJ was pro-debtor and, because EF and JW represented debtors, JW’s
clients could suffer no real harm. This, however, would ignore the fiduciary nature of the estate—
the DIP and its professionals are fiduciaries for all stakeholders. It would also create a devastating
precedent. What if, for example, DJ decided he did not like a particular debtor? Would EF be able
to aggressively advocate for her DIP client then?
        “One risk” of close personal relationships, Hazard, Hodes and Jarvis observe, “is that
closely related lawyers, especially if living in the same household, may unwittingly reveal the
confidences of their adverse clients.”
           Another danger is that while intense personal relationships between lawyers can make for
           marvelous theater, they may interfere, whether the lawyers are aware of it or not, with their
           detached professionalism and independent judgment. Depending on the circumstances,
           these strains on the lawyers' loyalty can constitute a “material limitation” on the
           representation of one or more of the clients . . . . 141
       These risks would appear to be at least as great when the relationship is between judge and
counsel.
        After assessing the publicly-available information about the Relationship and the Cases,
Professor Rapoport put it succinctly: “I'll go ahead and say it: a romantic partner living with a
judge is exactly the kind of connection that should prevent that judge from approving the romantic
partner's employment, awarding fees, or otherwise benefitting that romantic partner's livelihood.
Would any reasonable person believe that intimate partners are not “connected”?142
           B. What Should JW Have Done?
        Still, JW may object: what were they supposed to do? Taking the facts most favorably to
them, they had no actual knowledge of the Relationship until March 6, 2021; even then, they were
unfortunately gulled by EF whose obfuscation makes it difficult to know whether JW was acting
in good faith, as they claim, or seeking to bury evidence of the connection between EF and JW.
The fact that the allegations came initially from Mr. Van Deelen—alleged to be a serial litigant
and perhaps unstable143—would surely call for lenity.
        The problem for JW—even if one thinks Texas’s imputation rules do not apply—is that
once JW learned February 1, 2022 from a “credible third party”144 that EF and DJ were in fact still
in the Relationship, they appear to have done nothing to remedy the problem. Consider some of
the steps JW could have taken which might have ameliorated the “egregious” nature of its
conduct:145



that “[a] judge must disqualify himself or herself when the judge has a romantic relationship with a lawyer or party in
the proceeding, or desires or is pursuing such a relationship.” Id.
141
      HAZARD, HODES & JARVIS, § 12.28.
142
      Rapoport, supra 40 EMORY BANKR. DEV. J. at 368.
143
      Opp. ¶ 36 (discussing “Mr. Van Deelen’s erratic disposition and credibility”).
144
      Prelim. Resp. ¶ 16; Opp. ¶ 46.
145
      Van Deelen v. Jones, No. 4:23-CV-03729-AM, 2024 WL 3852349, at *15 (S.D. Tex. Aug. 16, 2024).

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               •    Consistent with the advice given in Jarvis2, JW could have timely informed
                    Kirkland & Ellis—and perhaps the UST—of the gravity of the situation. This, in
                    turn, would have enabled JW to obtain the client consent required to make further
                    disclosure or otherwise proceed to address the undeniable misconduct of EF and
                    DJ, for example by withdrawal. They did not.
               •    If JW still had lingering doubts about the nature and quality of the Relationship—
                    implausible, given that they chose to ask her to leave after she confirmed the fuller
                    version March 30, 2022—they could easily have conducted an independent
                    investigation. Doing so would have revealed the existence of the Rolla Deed and
                    other public documents associated with the Rolla Property. A lawyer “may not
                    avoid the bright light of a clear fact by averting [his or her] eyes or turning [his or
                    her] back.”146
               •    While separation from EF may have been an appropriate step for JW to take, it was
                    in fact taken in a way that would appear to further the concealment rather than
                    provide the transparency the bankruptcy system requires. The Confidential
                    Withdrawal Agreement suggests JW sought to conceal the fact of the Relationship.
                    The fact that JW then continued to work with and “strongly recommend” EF—even
                    after they had caught her in several serious lies—is mind-boggling.
               •    At any point from and after March 8, 2021—when JW first had confirmation from
                    EF that there had been a relationship—the firm had a commitment to supplement
                    those 2014 statements that were submitted during the acknowledged period of
                    overlap in the Relationship and EF’s employment at JW (i.e., March 2018 to March
                    2020). “[T]he duty to disclose under Bankruptcy Rule 2014 is considered
                    sacrosanct because the complete and candid disclosure by an attorney seeking
                    employment is indispensable to the court's discharge of its duty to assure the
                    attorney's eligibility for employment under section 327(a) and to make an informed
                    decision on whether the engagement is in the best interest of the estate.”147
           C. The Mediation Cases
        Woven throughout JW’s defense is the assertion that, even if JW had an actual conflict due
to the Relationship, disclosure would have been irrelevant because no one was actually hurt by the
outcomes. Nowhere is this argument more forcefully made than with respect to the cases in which
DJ acted not as judge but as mediator where JW and EF were counsel and, as above, the connection
between EF and DJ was not disclosed. “The evidence in the Mediation Cases,” JW asserts, “shows
that the debtors and the other mediation parties got precisely what they bargained for: a value-
maximizing restructuring implemented through a confirmed plan that the debtors and their
stakeholders, in many cases, still benefit from today.”148
       But it is hard to imagine that parties “bargained for” a mediator who was the functional
equivalent of the spouse counsel to the debtor. How could they if, like all parties in all of the Cases,
none of them knew?


146
      CHARLES W. WOLFRAM, MODERN LEGAL ETHICS 696 (1987).
147
   In re eToys, Inc., 331 B.R. 176, 189–90 (Bankr. D. Del. 2005) (citing In re Leslie Fay Cos., 175 B.R. 525, 533
(Bankr.S.D.N.Y.1994)).
148
      Opp. ¶ 173.

                                                       29
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       Moreover, there is indirect evidence that Judge Jones’s participation in the Mediation Cases
was not so value-maximizing for creditors. The UST asserts that in In re Tehum Care Serv., Inc.,
No. 23-90086, Judge Jones was appointed to mediate a global settlement that included, among
other matters, the settlement of a fraudulent transfer claim against a party represented by Ms.
Freeman. That mediation resulted in a global settlement, reflected in a proposed plan of
reorganization, in which the estate’s claims would be released in return for a $37 million
contribution by Ms. Freeman’s client and the other settlement parties. 149
        Following the resignation of Judge Jones, however, the bankruptcy court ordered a new
mediation before a different mediator. Although that mediation involved the same claims and same
parties as the mediation under Judge Jones, the resulting proposed settlement increased the
settlement payment to $54 million.150 As such, the participation of Judge Jones in Tehum would
arguably have cost the bankruptcy estate of Tehum—its creditors and other stakeholders—$17
million? If so, his participation reduced value for them.
        If anything, the taint of the Relationship was worse in the Mediation Cases than the others
because DJ and EF were not only misleading parties, but also other judges, who presided over the
Mediation Cases. Professor Melissa Jacoby has studied mediations conducted by sitting judges,
and observed that the practice ingeneral “can [] undercut key justice system values like
transparency and impartiality.”151 While the use of judges as mediators is not uncommon or
necessarily problematic, using “judges as mediators run[s] the risk of increasing pressure to reach
a resolution without trial.”152
        This may have been a problem with the Mediation Cases. But by far the greater problem
is the fact that the judges who appointed DJ to mediate in cases in which EF appeared were
apparently as uninformed about the Relationship as were the parties to those mediations.
Confidence in the integrity of the chapter 11 process is fundamental for all who are affected by it,
creditors, equity holders, and other judges, alike. That includes confidence that significant
conflicts of interest of key participants are either disclosed and waived or, if not, that those with
such conflicts will not participate.




149
  UST Reply ¶ 116, n. 18 (citing No. 23-90086, ECF No. 1072, Second Am. Chapter 11 Plan, at 17 (Bankr. S.D.
Tex. Oct. 27, 2023)).
150
   UST Reply ¶ 116 (citing Tehum Care Serv., No. 23-90086, ECF No. 1259, Settlement Mot. (Bankr. S.D. Tex. Jan.
16, 2024).
151
      Melissa B. Jacoby, Other Judges' Cases, 78 N.Y.U. ANN. SURV. AM. L. 39, 41 (2022).
152
      Id. at 53.

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Conclusion
        In my opinion, JW’s persistent pattern of ignoring, obfuscating and concealing the
Relationship offended both the letter and spirit of bankruptcy’s disclosure regime. From and after
the time JW first learned definitively that EF and DJ were in, and had been in, the Relationship
throughout EW’s partnership with JW (no later than February, 2022), JW had a duty to amend its
2014 disclosures in the Cases which erroneously indicated or implied no such connection to DJ.
DJ’s erroneous interpretation of his ethical obligations is no excuse, because JW had an
independent obligation to investigate the truth of allegations regarding the Relationship and, if the
results warranted it, thereafter to disclose this conflict or to withdraw from the Cases—as it was
advised to do by its own ethics expert in June of 2022. Unfortunately, at every important moment
in this matter, JW chose not to disclose but instead to conceal what it knew or had good reason to
know about the Relationship.
                                                      Respectfully submitted,


                                                      __________________________
                                                      Jonathan C. Lipson
                                                      September 30, 2024
                                                      Philadelphia, Pennsylvania




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                                                                                 Appendix A
                                                                                  Exhibit 6A
                                                                                 Judge Jones
                                                                       Jackson Walker Fee Order Entered
                                                                                 Open Cases

                                                                                         Date of
                                                          Confirmation                               Retention      Fee App       Total Fees                      Ms. Freeman
     Debtor Name            Case Number   Petition Date                    Position     Retention                                                Total Expenses
                                                             Status                                   App ECF      Order ECF      Awarded                             Fees
                                                                                          App

  Westmoreland Coal                                                      Debtor Local
                             18-35672      10/9/2018       Confirmed                    11/8/2018         376         2249       $676,806.00       $87,114.29     $129,629.50
      Company                                                              Counsel

                                                                         Debtor Local
J.C. Penney Company, Inc.    20-20182      5/15/2020       Confirmed                    6/11/2020         685         2874       $1,087,263.00     $14,219.21     $286,159.00
                                                                           Counsel

   Whiting Petroleum                                                     Debtor Local
                             20-32021      4/1/2020        Confirmed                    4/17/2020         173         840        $695,091.50       $3,541.94       $36,115.00
     Corporation                                                           Counsel

 Neiman Marcus Group                                                     Debtor Local
                             20-32519      5/7/2020        Confirmed                     6/3/2020         750         2147       $380,573.50       $6,103.70       $49,910.00
      LTD, LLC                                                             Counsel

                                                                         Debtor Local
    Stage Stores LLC         20-32564      5/10/2020       Confirmed                     6/4/2020         385         983        $182,655.50       $2,090.65       $29,295.00
                                                                           Counsel

  Chesapeake Energy                                                      Debtor Local
                             20-33233      6/28/2020       Confirmed                    7/16/2020         370         3509       $912,742.00       $21,275.94     $192,258.00
     Corporation                                                           Counsel
                                                                            Debtor
     Covia Holdings
                             20-33295      6/29/2020       Confirmed       Conflicts    7/21/2020         195         1304       $325,181.00       $6,200.85       $51,021.00
      Corporation
                                                                           Counsel

Bouchard Transportation                                                  Debtor Local                              20-34758 at
                             20-34682      9/28/2020       Confirmed                    10/28/2020        173                    $436,790.00       $5,371.86       $23,380.00
       Co., Inc.                                                           Counsel                                     63
                                                                            Debtor
     Mule Sky LLC                                                                                    20-35562 at
                             20-35561     11/13/2020       Confirmed       Conflicts    12/11/2020                    212        $765,173.50       $7,334.20       $54,525.50
   (Gulfport Energy)                                                                                     390
                                                                           Counsel
                                                                         Debtor Local
  Seadrill Partners LLC      20-35740      12/1/2020       Confirmed                    12/23/2020        110         690        $286,885.00       $1,617.25       $28,223.00
                                                                           Counsel

                                                                         Debtor Local
    Seadrill Limited         21-30427      2/10/2021       Confirmed                     3/8/2021         250         1340       $501,242.00       $2,123.05       $5,594.50
                                                                           Counsel


  Brilliant Energy, LLC      21-30936      3/16/2021        No Plan         Other       4/13/2021         68          241        $186,363.50       $2,246.63         $0.00


                                                                         Debtor Local
       Katerra Inc.          21-31861      6/6/2021        Confirmed                    6/29/2021         289         1639       $858,653.01       $3,934.72         $0.00
                                                                           Counsel
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                                                                                       Date of
                                                        Confirmation                               Retention    Fee App       Total Fees                      Ms. Freeman
     Debtor Name          Case Number   Petition Date                    Position     Retention                                              Total Expenses
                                                           Status                                   App ECF    Order ECF      Awarded                              Fees
                                                                                        App

 Basic Energy Services,                                                Debtor Lead
                           21-90002      8/27/2021       Confirmed                    12/13/2021     809         1511        $1,543,432.34     $3,082.84         $0.00
          Inc.                                                           Counsel

                                                                       Debtor Local
       Strike LLC          21-90054      12/6/2021       Confirmed                     1/6/2022      363         1248        $875,026.00       $12,331.41        $0.00
                                                                         Counsel

4E Brands Northamerica                                                 Debtor Lead
                           22-50009      2/22/2022       Confirmed                    3/24/2022       72         427-1       $859,425.50       $7,300.81         $0.00
          LLC                                                            Counsel
                                                                          Debtor
   Sungard AS New
                           22-90018      4/11/2022       Confirmed       Conflicts    5/10/2022      211          897        $414,495.00       $5,966.56         $0.00
      Holdings
                                                                         Counsel

                                                                                                                   Totals   $10,987,798.35    $191,855.91     $886,110.50
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                                                                                    Exhibit 6B
                                                                                   Judge Jones
                                                                         Jackson Walker Fee Order Entered
                                                                                  Closed Cases

                                                                                           Date of
                                                          Confirmation                                Retention   Fee App       Total Fees     Total Expenses Ms. Freeman
    Debtor Name           Case Number     Petition Date                      Position     Retention
                                                             Status                          App      App ECF     Order ECF      Awarded         Awarded          Fees

                                                                           Debtor Local
   Jones Energy Inc.       19-32112        4/14/2019       Confirmed                      4/23/2019     125         251         $92,854.00       $20,915.86    $10,582.00
                                                                             Counsel

McDermott International                                                    Debtor Local
                           20-30336        1/21/2020       Confirmed                      2/19/2020     424         1021        $391,655.00      $21,154.16   $114,002.50
        Inc.                                                                 Counsel

   Sheridan Holding                                                        Debtor Local
                           20-31884        3/23/2020       Confirmed                      4/2/2020      130         213         $11,779.50       $12,025.30    $3,565.00
    Company I, LLC                                                           Counsel
                                                                             Debtor
  Hornbeck Offshore
                           20-32679        5/19/2020       Confirmed        Conflicts     6/1/2020      132         283         $61,428.00        $798.75      $4,727.50
     Services, Inc.
                                                                            Counsel
                                                                           Debtor Local
Denbury Resources Inc.     20-33801        7/30/2020       Confirmed                      8/28/2020     238       384 & 442     $124,321.50       $890.07      $37,122.50
                                                                             Counsel

                                                                           Debtor Local
   iQor Holdings Inc.      20-34500        9/10/2020       Confirmed                      9/28/2020     154         252         $63,842.00       $3,857.50     $1,670.00
                                                                             Counsel

                                                                           Debtor Lead
     Volusion, LLC         20-50082        7/27/2020       Confirmed                      8/26/2020         74      172         $339,428.00      $3,025.97     $62,897.00
                                                                             Counsel

 Seadrill New Finance                                                      Debtor Local
                           22-90001        1/11/2022       Confirmed                      2/8/2022          94      121         $27,286.00       $21,067.75      $0.00
       Limited                                                               Counsel

   LaForta - Gestao e                                                      Debtor Lead
                           22-90126        6/16/2022        No Plan                       7/15/2022         67      298         $505,907.50      $7,946.11       $0.00
     Investmentos                                                            Counsel


                                                                                                                      Totals   $1,618,501.50    $91,681.47    $234,566.50
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                                                                                          Exhibit 6C
                                                                                    Jones Mediation Cases
                                                                                Jackson Walker Fees/Expenses
                                                                                         Open Cases

                                                                 Confirmation                     Date of      Retention      Fee App        Fee App        Total Fees    Total Expenses   Ms. Freeman
     Debtor Name           Case Number   Petition Date   Judge                    Position
                                                                    Status                     Retention App    App ECF        Status       Order ECF       Awarded         Awarded            Fees

    Sanchez Energy                                                              Debtor Local
                            19-34508      8/11/2019      Isgur    Confirmed                     10/1/2019        269       Final Approved      1502       $1,905,683.35     $98,468.48     $531,384.50
      Coporation                                                                  Counsel

                                                                                Debtor Local
  GWG Holdings Inc.         22-90032      4/20/2022      Isgur    Confirmed                     5/19/2022        267       Final Pending                   $801,232.50      $59,972.91     $228,572.81
                                                                                  Counsel

                                                                                Debtor Local
      HONX, Inc.            22-90035      4/28/2022      Isgur   Plan Pending                   5/31/2022        128        Interim Filed                  $393,782.00      $7,681.61       $71,790.00
                                                                                  Counsel

                                                                                Debtor Local                                                22-90129 at
Altera Infrastructure LP    22-90130      8/12/2022      Isgur    Confirmed                     9/12/2022        228       Final Approved                  $357,209.50      $6,739.23       $53,445.00
                                                                                  Counsel                                                       20

IEH Auto Parts Holding                                                          Debtor Lead
                            23-90054      1/31/2023      Lopez    Confirmed                      3/2/2023        181       Final Pending
         LLC                                                                      Counsel
                                                                                  Debtor
IEH Auto Parts Holding
                            23-90054      1/31/2023      Lopez    Confirmed       Conflicts      3/2/2023        183         None Filed
          LLC
                                                                                  Counsel
                                                                                   Debtor
      MLCJR LLC             23-90324      5/14/2023      Lopez      No Plan       Conflicts     6/13/2023         433       Interim Filed
                                                                                  Counsel

                                                                                                                                   Totals                 $3,457,907.35   $172,862.23      $885,192.31




                                                                                                                                                                                                         4
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                                                                                        Exhibit 6D
                                                                                  Jones Mediation
                                                                                  Cases
                                                                              Jackson Walker Fees/Expenses
                                                                                       Closed Cases

                                                                                              Date of
                                                               Confirmation                              Retention      Fee App        Fee App      Total Fees    Total Expenses   Ms. Freeman
   Debtor Name          Case Number    Petition Date   Judge                    Position     Retention
                                                                  Status                                  App ECF        Status       Order ECF      Awarded         Awarded           Fees
                                                                                                App

                                                                               UCC Local
EXCO Resources, Inc.     18-30155       1/15/2018      Isgur    Confirmed                    2/26/2018      382      Final Approved      122      $1,820,436.59     $68,949.97     $185,702.50
                                                                                Counsel

                                                                              Debtor Local
Tailored Brands, Inc.    20-33900       8/2/2020       Isgur    Confirmed                    9/1/2020       496      Final Approved     1404       $253,420.00      $1,482.05       $57,345.00
                                                                                Counsel


                                                                                                                                        Total     $2,073,856.59    $70,432.02      $243,047.50
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                                              Appendix B


                                JONATHAN C. LIPSON


Harold E. Kohn Chair in Law; Professor of Law
Temple University—Beasley School of Law
1719 North Broad Street
Philadelphia, Pennsylvania 19122
215.204.0608 (office)
jlipson@temple.edu
http://www.law.temple.edu/Pages/Faculty/N_Faculty_Lipson_Main.aspx

 Current          Harold E. Kohn Chair in Law, Temple University—Beasley School of Law (2012—
 Appointment      present)
                  Courses (current and prior): Main courses: Bankruptcy; Commercial Transactions; Contracts;
                  Corporations; Additional courses: Advising the Multinational Company; Introduction to
                  International Business Transactions; Negotiating and Documenting Corporate
                  Transactions; Payment Systems; Secured Transactions; Lawyering for Entrepreneurship
                  (capital-formation corporate simulation); “Debt and Democracy” (seminar on bankruptcy
                  and constitutional law); Comparative Insolvency Systems (US/UK law).
                  Other Appointments: Faculty Advisor, Temple Center for Ethics and Compliance; Adjunct
                  Research Fellow, Renmin University Law School.
 Law     School   Current: Member, Faculty Colloquium Committee; Chair, Faculty Chairs and Awards
 and University   Committee (Chair 2013-2019); Member, Career Services Committee; (Member); Founding
 Service          Editor, The Temple 10-Q (weekly electronic business law news magazine and podcast
                  series)(2014-present).
                  Prior (Temple): Dean Search Committee, Temple Law School (2022); Dean Search
                  Committee, Temple University-Japan (2019-20); Member, ABA Self-Study (2018-19); Law
                  School Budget Representative to University (negotiated and advised transition to
                  “responsibility centered” budget model) (2013-2015); Member and Co-Chair Executive
                  Committee (2012-2014); Member, Faculty Recruitment (2012-2013); Member, Faculty
                  Strategic Planning Committee (2012-2014); Program Chair, Temple Law Review
                  Symposium, The (Un)Quiet Realist: Reflecting and Building on the Contributions of Bill Whitford
                  (2014)(co-sponsored with University of Wisconsin Law School); Co-Chair, Upper Level
                  Curriculum Initiative (assessed and restructured upper-level curriculum) (2009-2010);
                  Prior (Wisconsin): Member (2010-11) & Chair (2011-12), Tenure Committee; Director,
                  Wisconsin Business Law Initiative; Program Chair, Wisconsin Law Review Symposium,
                  Who’s in the House: The Changing Role and Nature of In-house and General Counsel (2011); Member,
                  Externships Committee; Member, University Disciplinary Hearing Panel (2010-2012).
                  Prior (University of Baltimore): Provost Search Committee, Dean’s Advisory Committee, Self-
                  Study, Curriculum, and Baltimore Scholars Committees. Co-Chair, Strategic Planning
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                 Committee. Fellow, University of Baltimore Center for International and Comparative Law.
Prior Academic   University of Wisconsin Law School: Foley & Lardner Professor of Law (with
Appointments     tenure) (2010-2013)(on leave 2012-13).
                 Temple University - James E. Beasley School of Law: Peter J. Liacouras Professor of
                 Law (2009-2010); Professor of Law (2007-2009); Associate Professor of Law (2005-2007);
                 Visiting Associate Professor of Law (2004-2005) (with tenure).
                 University of Pennsylvania Law School: Visiting Professor of Law (Spring 2007).
                 University of Baltimore School of Law: Assistant Professor of Law (1999-2003) &
                 Associate (with tenure)(2003-2005) (on leave 2004-2005).
                 Northeastern University School of Law: Adjunct Professor of Law (Banking) (1995 –
                 1998).
Publications     The End(s) of Bankruptcy Exceptionalism: Purdue Pharma and the Problem of Social Debt, 46
                 CARDOZO L. REV. __ (forthcoming 2025) (w/ Pamela Foohey)
                 FTX’d: Conflicting Public and Private Interests in Chapter 11, 77 STAN. L. REV. __ (forthcoming
                 2025) (w/David Skeel) (featured in Sujeet Indap, Law firm conflicts ‘permeated FTX’s
                 bankruptcy’, professors allege, Fin. Times, Mar. 26, 2024)
                 “Special”: Remedial Schemes in Mass Tort Bankruptcies, 101 TEX. L. REV. 1773 (2023)(invited
                 symposium contribution)
                 The Rule of the Deal: Bankruptcy Bargains and Other Misnomers, 97 AM. BANKR. L.J. 41
                 (2023)(peer reviewed)
                 Response, First in Time; First Is Right: Comments on Levitin's Poison Pill, 101 TEX. L. REV.
                 ONLINE 33 (2022) [https://perma.cc/5VVZ-58W5] (invited response).
                 The End(s) of Corporate Social Responsibility, in CONTRACTS FOR RESPONSIBLE AND
                 SUSTAINABLE SUPPLY CHAINS (Am. Bar. Assn. 2023)(David Snyder & Susan Maslow, eds)
                 (invited book chapter)
                 Foreword: Contract in Crisis, 85 L. & CONTEMP. PROB 1 (2022)(w/ R. Rebouché)(symposium
                 editors)
                 The Truth Wherever it May be Found: The Wisconsin School of Contracts (an Introduction), 2021 WIS.
                 L. REV. 337 (invited symposium contribution)
                 Contracting COVID: Private Order and Public Good, 76 BUS. LAW. 437 (2021)(with Norman
                 Powell)
                 MODEL BUSINESS CORPORATION ACT ANNOTATED (5th edition, 2020) (co-editor with L.
                 Hamermesh; authored by ABA Corporate Laws Committee)
                 The Business Lawyer at 75 and Secured Transactions Under Article 9 of the Uniform Commercial Code
                 75 BUS. L. 1575 (2019-20) (w/ S. Weise)
                 Promising Justice: Contract (as) Social Responsibility, 2019 WIS. L. REV. 1109.
                 Something Else: Specific Relief for Breach of Human Rights Terms in Multinational Supply Chain
                 Agreements, 68 AM. U. L. REV. 1751 (2019) (solicited symposium contribution).
                 Reforming Institutions: The Judicial Function in Bankruptcy and Public Law Litigation, 94 IND. L. J.
                 545 (2019) (with K. Noonan and W. Simon).
                 Securitization and Social Distance, 37 REV. BANK. & FIN. L. 827 (2017-2018)(solicited
                 symposium contribution).
                 Controlling Creditor Control: Jevic and the End(?) of LifeCare, 27 NORTON BANKR. L & PRAC.
                 563 (2018) (solicited symposium contribution).
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         Bargaining Bankrupt: A Relational Theory of Contract in Bankruptcy, 6.2 HARV. BUS. L. J. 239
         (2016) (winner, 2018 Temple Law School Friel-Scanlan Award).
         Examining Success, 90 AM. BANKR. L.J. 1 (2016) (with C. Marotta) (solicited manuscript; peer
         reviewed) (winner of the American Bankruptcy Law Journal “Editor’s Prize” for best paper
         of 2016).
         Braucher’s Business, 58 ARIZ. L. REV. 173 (2016) (solicited symposium contribution).
         Foreword: Forward!, 87 TEMP. L. REV. 693 (2015) (solicited symposium contribution).
         The Pattern in Securitization and Executive Compensation: Evidence and Regulatory Implications, 20.2
         STAN. J. L. BUS & FIN. 145 (2015) (with M. Matsumura, R. Martin & E. Unlu).
         Against Regulatory Displacement: An Institutional Analysis of Financial Crises, 17.3 PENN. J. BUS L.
         673 (2015).
         Concentration, Complexity, & Capture: An Institutional Analysis of Financial Crises, Banking and
         Financial Services Policy Report (Aspen, 2015) (solicited contribution).
         From a Scream to a Whisper: The Supreme Court Does Little to Fix its Supreme Court Mess (Executive
         Benefits Insurance Agency v. Arkison (In re Bellingham)), 2014 WIS. L. REV. ONLINE 1 (solicited
         contribution).
         Stern, Seriously: The Article I Judicial Power, Fraudulent Transfers, and Leveraged Buyouts, 2013 WIS.
         L. REV. 1161 (with J. Vandermeuse) (cited in Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973,
         197 L. Ed. 2d 398 (2017)).
         Why (and How to) Define Securitization? A Sur-Reply to Professor Schwarcz, 85 S. CAL. L. REV.
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         Practice Commentator).
         Foreword: Who’s in the House: The Changing Role and Nature of In-house and General Counsel, 2012
         WIS. L. REV. 237 (2012) (with Engel and Crespo).
         What’s Amiss? The Lawyering Interest in “Miscellaneous” Contract Provisions, 65 CONSUMER FIN.
         L. Q. 151 (2011)(solicited manuscript).
         Governance in the Breach: Controlling Creditor Opportunism, 84 S. CAL. L. REV. 1035 (2011)
         (translated by Renmin University into Chinese as 濒危公司的治理（译文修改) (cited in
         Marblegate Asset Mgmt. v. Educ. Mgmt. Corp., 75 F.Supp.3d. 592 (S.D.N.Y. 2014 )).
         Controlling the Market for Information in Reorganization, 18 AM. BANKR. INST. L. J. 647 (2010)
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         AM. BANKR. L.J. 1 (2010) (peer reviewed).
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         OUR ECONOMIC FUTURE 43 (2010, R. Kolb ed.).
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         Cost-Benefit Analysis and Closing Opinion Practice, 63 BUS. L. 1187 (2008) (peer reviewed).
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         Debt and Democracy: Towards a Constitutional Theory of Bankruptcy, 83 NOTRE DAME L. REV.
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             605 (2008) (cited in In re Apex Long Term Acute Care—Katy, L.P., 465 B.R. 452 (2011)).
             Where’s the Beef? A Few Words About Paying for Performance in Bankruptcy, 156 UNIV.PA. L. REV.
             PENNUMBRA 64 (2007) (invited contribution to UNIVERSITY OF PENNSYLVANIA LAW
             REVIEW online, available at http://www.pennumbra.com/).
             The Expressive Function of Directors’ Duties to Creditors, 12 STAN. J. L. FIN. & B. 224 (2007) (cited
             in In re Stephens, 704 F.3d 1279 (10th Cir. 2013)).
             Twilight in the Zone of Insolvency, 1 J. BUS. & TECH. L. 229 (2007)(invited panel remarks).
             When Churches Fail: The Diocesan Debtor Dilemmas, 79 S. CAL. L. REV. 363 (2006) (cited in
             Blaudziunas v. Egan, 74 A.D.3d 697 (2010)).
             Religious Organizations Filing for Bankruptcy, 13 AM. BANKR. INST. L. REV. 25 (2005)(invited
             panel remarks).
             Price, Path & Pride: Third-Party Closing Opinion Practice Among U.S. Lawyers (A Preliminary
             Investigation), 3 BERKELEY BUS. L.J. 59 (2005) (selected for presentation at 2005 Yale/Stanford
             Junior Faculty Forum & 2005 Harvard/Texas Commercial Realities Workshop).
             Secrets and Liens: The End of Notice in Commercial Finance Law, 21 EMORY BANKR. DEV. J
             421 (2005) (cited in In re Duckworth, 776 F.3d 453 (7th Cir. 2014) & Express Working Capital, LLC
             v. Starving Students, Inc., 28 F. Supp. 3d 660 (N.D. Tex. 2014)).

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             92 A.2d 930 (Del. May 18, 2007); In re RSL Com Primecall Inc., 2003 Bankr. LEXIS 1635
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             Remote Control: Revised Article 9 and the Negotiability of Information, 63 OHIO ST. L.J. 1327 (2002)
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             101 (2002) (cited in Trenwick America Litigation Trust v. Ernst & Young, L.L.P., 906 A.2d 168
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             On Balance: Religious Liberty and Third-Party Harms, 84 UNIV. MINN. L. REV.589 (2000)
             (cited in In re Congregation Birchos Yosef, 535 B.R. 629 (Bankr. S.D.N.Y. 2015)).

             First Principles and Fair Consideration: The Developing Clash Between the First Amendment and the
             Constructive Fraudulent Conveyance Laws, 52 UNIV. MIAMI L. REV. 247 (1997).
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             Proceeds Under Revised Article 9 of the UCC, MARYLAND INSTITUTE FOR CONTINUING
             PROFESSIONAL EDUCATION OF LAWYERS (April, 2000 & September 2001).
             Contributor (with J. Levin, M. Ginsburg and T. Freedman) MERGERS, ACQUISITIONS &
             BUYOUTS (Aspen) (fraudulent conveyance issues) (1992 to 2006).
             Regular Guest Blogger: Creditslips.org, concurringopinions.org. & regblog.org.
Casebooks    CONTRACTS: LAW IN ACTION (Carolina Academic Press), vol. I & II, with Macaulay et al.
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Works          in   The End(s) of Bankruptcy Exceptionalism: Purdue Pharma and the Future of Mass Tort
Process             Reorganization (w/ Pamela Foohey)(previewed on Harvard Bankruptcy Roundtable, July 17,
                    2024)
                    Debtor-Creditor Corpus Construction (developing large-language model dataset of chapter 11
                    bankruptcy documents) (lead co-PI, with D Chen and D Cai)
                    Corporate Due Process: (consideration of baseline procedural protections in corporate
                    governance)
                    Corporate Mitosis (assessment of corporate law issues in so-called “Texas Two-Step”
                    reorganizations)
                    Against Corporate Social Responsibility (critique of CSR as a legal mechanism of social change)
                    Why Is Business Law Education So Bad? Value(s) Creation by Law Professors (critiquing literature
                    on “transactional skills” education).)

Recent              American Bar Association—Business Law Section: Committee on Corporate Laws (by
Professional        invitation, 2018-present) & Assistant Reporter, Model Business Corporation Act
and                 (promulgated by same); Section Council (board of directors of Business Law Section) (2010-
                    2011; 2017-present); Section Content Officer (2011-2017) (responsible for strategic and
Community
                    policy guidance on all educational and other content generated by Business Law Section);
Activities
                    Chair, Section Publications Board ($3.2 million book publications program) (2004-2010);
                    Co-Chair, Business Law Education Committee of Business Law Section (2003-2007); Co-
                    Chair: Law School Initiative (2003-2006); member, Task Force on Human Rights in Supply
                    Chain Agreements (on going); two-time winner of “Chair’s Award” for distinguished service
                    to the Business Law Section.
                    American Law Institute: Member, elected 2005; member, various consultative groups.
                    The American Bankruptcy Law Journal. Faculty advisor (2023-present); member,
                    advisory board (2015-2018) (peer reviewed journal of the National Conference of
                    Bankruptcy Judges).
                    The Business Lawyer. Member, editorial board (2009-present) (peer reviewed journal of
                    the Business Law Section of the American Bar Association).
                    American College of Commercial Finance Lawyers, Fellow, inducted 2008; Member,
                    Board of Regents (2014-present).
                    Association of American Law Schools: Chair, Section on Commercial and Related
                    Consumer Law (2003-2004).
                    Congregation Rodeph Shalom, member, Advisory Board and Strategic Planning
                    Subcommittee
                    The Temple 10-Q: Founding editor of weekly business law blog by and for Temple
                    business law community.
                    Counsel of Record, Brief for Amici Curiae Law Professors in Support of Petitioner, Harrington v.
                    Purdue Pharma, (In re Purdue Pharma), No. 23-124 (U.S. Supreme Court, Oct. 2023) (counsel,
                    with Pamela Foohey, for a dozen law professors, in successful challenge to “third-party
                    releases”), opinion reported at Harrington v. Purdue Pharma, L.P.,__U.S.__, 144 S. Ct. 2071
                    (2024).
                    Counsel of Record, Brief for Amici Curiae Law Professors in Support of Petitioner, Vara v. FTX
                    Trading, Ltd, (In re FTX Trading, Ltd), No. 23-2297 (U.S. Court of Appeals for the Third
                    Circuit, Sept. 2023) (counsel to seven law professors in successful effort to have examiner
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              appointed), opinion reported at In re FTX Trading Ltd., 91 F.4th 148, 157 (3d Cir. 2024)
              Counsel of Record, Brief for Amici Curiae Law Professors in Support of Petitioner, Casimir
              Czyzewski v. Jevic Holding Corp. (In re Jevic Holding Co.), et al., No. 15-649 (U.S. Supreme Court,
              Dec. 2015)(co-counsel Melissa Jacoby in successful effort to challenge use of “structured
              dismissals”), opinion reported at Czyzewski v. Jevic Holding Corp., 580 U. S. 451, 465 (2017).
              Counsel of Record, Brief of Amicus Curiae Law Professors, in Support of Petitioners, In re
              Cybergenics Corp., No. 01-3805, U.S. Court of Appeals for the Third Circuit) (counsel six law
              professors in successful effort to confer “derivate standing” on official committee of
              unsecured creditors), opinion reported at Official Comm. of Unsecured Creditors of Cybergenics
              Corp. ex rel. Cybergenics Corp. v. Chinery, 330 F.3d 548, 580 (3d Cir.2003) (en banc).
              National Conference of Bar Examiners: Observer, Contracts Drafting Group, April 2012.
              Illinois Bar Examiners: Question drafter (Contracts, Secured Transactions, and Negotiable
              Instruments).
              Philadelphia Stock Exchange: Dispute resolution panelist (2007-2010).
              National Conference of Bankruptcy Judges: Fellow (October 2002).
              Baltimore Scholars Program: Mentor pre-law students at historically black Maryland
              colleges and universities.
              Member, Board of Directors and Secretary, Baltimore Ronald McDonald House, Inc (1999-
              2002).
              Member, Greater Baltimore Committee Education Subcommittee (2000-2004).
              Baltimore Jewish Council: Reading tutor for elementary-age school children.
              Boston Athenaeum, Associates’ Council. Member of council responsible for activities of
              young members of one of the nation’s oldest private libraries (1997-99).
              Member and general counsel to Massachusetts Citizens Against the Death Penalty, Inc. Pro-
              bono counsel to 501(c)(4) organization opposed to institution of death penalty in
              Massachusetts (1998-99).
              Boston Law Firm Group. Mentor to Boston-area minority law students (1997-99).
Significant   In re Enron Corp. (Bankr. S.D.N.Y), consulting expert to Official Committee of
Expert        Unsecured Creditors on matters of transaction characterization and legal opinions (2005-
Engagements   2007); resolved by settlement including $30 million estate recovery.
              In re Dexter Distributing (Bankr. D. Az), consulting expert to debtor in possession on
              claims of breach of fiduciary duty by corporate directors.
              U.S. Bank National Association v. GreenPoint Mortgage Funding, Inc. (N.Y. Sup.
              Ct., pending), consulting and potentially testifying expert on certain definitions in asset
              securitization transactions.
              Banco Santander v. Stradley Ronon, LLP, (Pa. Ct. Cm. Pl.), expert retained in legal
              malpractice case involving secured transaction under UCC Article 9; resolved in favor of
              client at summary judgment.
              National Credit Union Administration Board v. Credit Suisse Securities (USA) LLC,
              et al. (S.D.N.Y.); National Credit Union Administration Board v. UBS Securities,
              LLC (S.D.N.Y.); et al., submitted expert report and testified at deposition in coordinated
              actions brought by the NCUA in the Southern District of New York, the Central District
              of California and the District of Kansas.
Education     University of Wisconsin-Madison, B.A. (1986) (honors); J.D. (1990) (Dean’s list 1988); Note
              and Comment Editor, WISCONSIN LAW REVIEW.
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                B.A., cum laude (1986), University of Wisconsin (history and philosophy); Trewartha Scholar
                (research grant for outstanding honors thesis); History department prize for best history
                essay.
Prior           Hill & Barlow, Boston, MA; Senior Associate, corporate and commercial departments
Professional    (1995-1999).
Experience
                Kirkland & Ellis, New York, NY; Associate, commercial department (1992-1995).
                Milbank, Tweed, Hadley & McCloy, New York, NY; Associate (1990-1992).
Admissions to   New York (1991); Massachusetts (1995) (inactive); Supreme Court of the United States
Practice        (2015)
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                               Selected Presentations, Short Articles and Media Quotes

Selected Presentations and Short Articles:
     1. The Conversation, Supreme Court rejects settlement with OxyContin maker Purdue Pharma over legal protections
        for the Sackler family that owned the company, June 27, 2024
     2. Guest, Against the Rules (Michael Lewis Podcast), Judging Sam: Judging the FTX Bankruptcy, May, 2024
     3. FTX’d: Conflicts of Public and Private Interests in Chapter 11, BYU Bankruptcy Deals Conference, April 3,
        2024
     4. Bankruptcy Boilerplate, a Proposal for a Proposal, Landmines, Black Holes and the Contract Production
        Paradox, University of Virginia Law School, Mar. 30, 2024
     5. Arguing About Purdue Pharma and Third-Party Releases, Delaware Bankruptcy Inn of Court, Dec. 23, 2023
     6. Corporate Mitosis, Tsinghua Commercial Law Conference, Oct. 30, 2023
     7. Corporate Mitosis, Canadian Law and Economics Association, Oct. 15, 2023
     8. FTX’d: Conflicting Public and Private Interests in Chapter 11, BYU Deals Conference, Mar. 2023
     9. “Special”: Remedial Schemes in Mass Tort Bankruptcies, University of Texas Law Review Symposium:
        Judicial Management of MDLs and Other Consolidations, January 28, 2023
     10. Problem of Social Debt, HLS; TUSL; Tsinghua
     11. Co-Organizer and co-moderator (w/ R. Rebouche), Contract in Crisis, Law & Contemporary Problems
         Symposium, July 2021
     12. Panel Presenter, Failure’s Failures, National Business Law Scholars 2021 Conference (June 2021)
     13. Panel organizer and editor, University of Wisconsin Law Review Symposium: The Wisconsin School
         of Contracts (October 2020)
     14. The Sacklers’ Last Poison Pill, N.Y. TIMES, Dec. 5, 2020 (with Gerald Posner), available at
         https://www.nytimes.com/2020/12/05/opinion/sackler-purdue-pharma-doj.html
     15. Plenary Presenter, Contracting COVID: Private Order and Public Good, National Business Law Scholars
         2020 Conference (May 2020)
     16. Don’t Just Do Something; Stand There! ABA Business Law Today & presentations of model standstill
         agreement to various bar associations)(April 2020-present)
     17. Presenter, Why is Business Law Education So Bad? Legal Education and Institutional Choice, BYU Deals
         Conference (March 2020)
     18. Fintech and Institutional Choice, AALS discussion group (Jan. 2020)
     19. Presenter, Against Corporate Social Responsibility, Commercial Law Conf. Tsinghua University School of
         Law (Oct. 2019).
     20. Presenter, Moral Bankruptcy, Renmin University School of Law & Tsinghua University School of Law
         (Oct. 2019)
     21. Presenter, Against Corporate Social Responsibility, Canadian Law and Economics Association (Oct. 2019)
     22. Moderator, John Kidwell Lecture, University of Wisconsin-Madison (March 2018 & November 2018)
     23. Presenter, Contract Social Responsibility, Tsinghua University Law School (Beijing) & Beijing Normal Law
         School (October 2018)
     24. Presenter, Addressing Economic Crimes, Mongolian Prosecutors Association (Mar. 2018).
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25. Commentator, Corpus Linguistics and Contract Interpretation, Corpus Linguistics Conference,
    Brigham Young University (March, 2018)
26. Presenter, Controlling Creditor Control, Festschrift in Honor of Jay Westbrook, University of Texas-Austin
    (January, 2018)
27. Presenter, The Secret Life of Priority, University of Amsterdam Law School (November 2017)
28. Presenter, The Secret Life of Priority, Tsingua University (Beijing) (October 2017)
29. Presenter, Structured Dismissals in Bankruptcy, Joe Lee Lecture, Univ. Kentucky Law School (June 7, 2017)
30. Presenter, Addressing Economic Crimes, Mongolian Supreme Court and Lower Courts (Mar. 2017).
31. Presenter, Making America Worse, Trump Casinos 1997-2010, Tsinghua University Law School (Oct. 29,
    2016) & Temple University (Nov. 2):
32. Presenter: Best Practices in Debt Collection Law: Mongolian Bailiff’s (Sheriff’s) Office, Ulan-Bator,
    Mongolia (Mar. 31 & Apr. 1, 2016).
33. Moderator: Current Trends in Compliance and Enforcement, Temple Law School (Apr. 2016).
34. Presenter and Organizer: Content Convergence for Business Bar Leaders, ABA Business Bar Leaders’
    Conference (May 2016).
35. Author, The Arc of Covenant Banking, Concurring Opinions (Jan. 29, 2016).
36. Presenter, A Few Words About Independent Directors, Tsinghua University (Oct. 2015).
37. Presenter, Examining Success, Renmin University, Beijing, China (Oct. 2015).
38. Presenter, Braucher’s Business, University of Arizona Law Review Symposium (April 2015).
39. Organizer and Discussant, The (Un)Quiet Realist: Reflecting and Building on the Work of Bill Whitford: Organized
    Temple Law Review symposium with leading bankruptcy, commercial and contracts scholars (Oct. 24,
    2014).
40. Organizer and Moderator, Harold E. Kohn Lecture: Presentation by speaker Leo E. Strine, Chief Justice,
    Delaware Supreme Court (Oct. 9, 2014).
41. The Global Financial Crisis: Some Causes and Cures, presentation for representatives of Consiglio Nazionale
    Forense (Italian Bar Association), Phila, PA (Aug. 13, 2014).
42. Regulatory Implications of Bank Securitization and Executive Compensation, RegBlog, available at
    http://www.regblog.org/2014/05/27-lipson-unlu-matsumura-martin-bank-securitization-and-
    executive-compensation.html (May 27, 2014) (invited contribution).
43. Program Chair and Presenter, Producing and Distributing Content, Business Bar Leaders Conference
    (sponsored by Business Law Section, ABA) (May 16, 2014).
44. The Role and Rule of Law: Creditors’ Rights and Legitimacy, presentation for Mongolian judges, Ulan Baator,
    Mongolian (Mar. 26, 2014).
45. Presenter, Examining Success: The Benefits and Costs of Bankruptcy Examination, Society for Benefit-Cost
    Analysis, Washington DC (Mar. 13, 2014).
46. Presenter, Ethical Issues in Closing Opinion Practice, Association of Commercial Finance Attorneys, Yale
    Club, New York (Feb. 18, 2014).
47. Relational             Reorganization,              ContractsProfBlog,                   available            at
    http://lawprofessors.typepad.com/contractsprof_blog/2013/08/revisiting-the-contracts-
    scholarship-of-stewart-macaulay-post-vi-jonathan-lipson.html (Aug. 28, 2013) (invited blog post on
    scholarship of Stewart Macaulay).
48. Detroit: Kicking the Federalism Question Down the Rhodes, http://www.concurringopinions.com/
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    archives/2013/07/guest-post-jonathan-lipson-on-the-mess-in-detroit.html (July 25, 2013) (invited
    blog post on developments in Detroit chapter 9 bankruptcy).
49. Testimony, American Bankruptcy Institute Field Hearings on Reform of Chapter 11 (video and written
    statement available at http://commission.abi.org) (June 7, 2013) (testimony on informational aspects
    of chapter 11 system).
50. Presenter, Chapter 11 Success Modeling Project, UCLA Law School (Feb. 2013).
51. Panelist and Presenter, Executive Compensation and Securitization, Tsinghua University School of Law,
    Commercial Law Conference (Oct. 2012).
52. Panelist and Presenter, Executive Compensation and Securitization, Canadian Law and Economics Ass’n
    (Oct. 2012).
53. Author, Failing at Failure: An Institutional Analysis of Dodd-Frank's Orderly Liquidation Authority RegBlog
    (Sept.       11,        2012)       available        at      https://www.law.upenn.edu/blogs/regblog/
    2012/09/11-lipson-orderly-liquidation-authority.html (invited blog post on “institutional analysis” of
    financial distress systems).
54. Presenter, Information Discovery and Machine Learning in Bankruptcy Reorganization, University of Wisconsin
    Dep’t Computer Science (May 2012).
55. Organizer & Program Chair and Commentator, Who’s In the House: The Changing Role and Nature of In-
    House and General Counsel, Wisconsin Law Review Symposium (Nov. 2011).
56. Panelist & Presenter: Tsinghua University School of Law, Commercial Law Conference, Oct. 2011 (Beijing,
    China), Choosing Failure: Comparative Institutional Analysis of the Convergence of Financial Distress Systems.
57. Commentator and Panelist, Empirical and Lyrical: The Scholarship of Stewart Macaulay (Oct. 2011).
58. Panelist and Presenter, Examine This! Examiners, Examinations and You, National Conference of
    Bankruptcy Judges, Tampa, Florida, (Oct. 2011).
59. Panelist & Presenter, Examiner Examination, New York City Bar Ass’n (May 2011).
60. Panelist & Presenter, Examiners in Chapter 11 Bankruptcies, Business Bankruptcy Committee, Am. Bar
    Ass’n, Spring Meeting (Apr. 2011).
61. Panelist & Presenter: Tsinghua University School of Law, Commercial Law Conference (Oct. 30, 2010)
    (Beijing, China), Controlling Creditor Opportunism.
62. Invited Speaker, Renmin (People’s) University (Nov. 1, 2010) (Beijing, China), Controlling Creditor
    Opportunism.
63. Invited Speaker, University of International Business and Economics Beijing, (Nov. 1, 2010) (Beijng,
    China), Four Models of Failure Under U.S. Law.
64. Panelist &Presenter, The SEC in Bankruptcy: Past, Present and Future, St. John’s School of Law, (Oct. 8,
    2010) (presenting Controlling the Market for Information in Reorganization, 18 AM. BANKR. INST. L. J. 647
    (2011) (solicited manuscript))
65. Panelist & Presenter, Never Really Thought About It: Understanding “Miscellaneous” Provisions and Other
    Background Text in Agreements, Am. Bar Ass’n Annual Meeting (Aug. 8, 2010) (presenting What’s Amiss?
    The Lawyering Interest in “Miscellaneous” Contract Provisions, 65 CONS. FIN. L. Q. 151 (2011)(solicited
    manuscript)).
66. Author, Of Lebron James and Louis Brandeis: Why Elizabeth Warren Should Run the Consumer Financial
    Protection Bureau, National Law Journal (online) (July 29, 1010), available                                    at
    http://www.law.com/jsp/nlj/PubArticleNLJ.jsp?id=1202463992960&slreturn=1&hbxlogin=1.
67. Author, The Great Repression: The Crisis of Richard Posner, Huffington Post (July 13, 2010), available at
    http://www.huffingtonpost.com/peter-j-liacouras/the-great-repression-the_b_644925.html.
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68. Panelist & Presenter, The Shadow Bankruptcy System, Commercial Law Conference, Tsinghua, University
    (Beijing) (Oct. 28, 2009).
69. Panelist (and organizer): The ‘New’ New Deal: Transactional Skills for a Changing Environment, Conference
    on the Minority Lawyer, Philadelphia, PA (Sept. 24, 2009).
70. Author, Beware the Toxicity of Shadow Bankruptcy, Nat’l L.J. 42, (June 15, 2009) (opinion).
71. Author, Turnaround investors always call the shots, 80 Adver. Age (May 18, 2009) (available at 2009 WLNR
    9767919) (point-counterpoint).
72. Panelist & Presenter, Cost-Benefit Analysis and Closing Opinion Practice: Some Ethical Issues, Delaware State
    Bar Ass’n (Apr. 30, 2009).
73. Panelist & Presenter, American Constitution Society, Global Financial Climate Change: Bankruptcy, Bailouts,
    and the Law, presented by the ACS Philadelphia Lawyer Chapter (Feb. 24, 2009).
74. Panelist & Presenter, Enron Re-run, Commercial Law Conference, Tsinghua, University (Beijing) (Oct.
    23, 2008).
75. Panelist & Presenter, American Bar Association, Committee on Affordable Housing and Community
    Development, Ethical Issues in Third Party Closing Opinions Practice, Washington, DC (May 23, 2008).
76. Discussant, Law, Economics and Neuroscience, University of Southern California, Los Angeles, CA (May
    14, 2008) (commenting on Berns, et al, Adolescent Engagement in Dangerous Behaviors ).
77. Panelist & Presenter, Conference on Globalizing Secured Transactions, Thomas Jefferson University School
    of Law (Mar. 14, 2008) (presenting Atrophy and Catastrophe: Designing and Protecting Rights-Creating
    Information Systems in Global Secured Credit).
78. Panelist & Presenter, Joint Meeting of American Association of Law Schools Debtor/Creditor Section
    and National Conference of Bankruptcy Judges (Oct. 2007) (draft of empirical study of use of
    bankruptcy examiners).
79. Panelist & Presenter, American Bar Association, Committee on Legal Opinions, Annual Meeting
    (“Crossing the Threshold”) (Aug. 12, 2007) San Francisco, CA (repeated as Webcast November 11,
    2007).
80. Panelist & Presenter, Harvard/Texas Commercial Realities Workshop (proposal for a study of UCC-
    1 and corporate chartering systems) (Apr. 2007).
81. Panelist & Presenter, Middle Eastern Partnership Institution (United States                            State
    Department/University of Pennsylvania), U.S. Commercial and Bankruptcy Law (Apr. 9, 2007).
82. Panelist & Presenter, Association of Commercial Finance Attorneys, Presentation, Ethical Issues in
    Negotiating and Drafting Opinion Letters (Mar. 26, 2007).
83. Panelist & Presenter, Harvard/Texas Commercial Realities Workshop (proposal for an empirical study
    of examiners in large chapter 11 bankruptcies) (Apr. 2006).
84. Moderator, Teaching, Training and Growing M&A Lawyers, Business Law Section, American Bar Ass’n
    (Apr. 7, 2006).
85. Presenter, Temple Institute for International Law and Public Policy (Nov. 7, 2005) (presented draft of
    The Expressive Function of Directors’ Duties to Creditors).
86. Panelist, Twilight in the Zone of Insolvency, University of Maryland School of Law (Nov. 3, 2005) (presented
    draft of The Expressive Function of Directors’ Duties to Creditors).
87. Panelist, American Association of Law Schools - Joint Meeting of Commercial and Contracts Sections
    (intellectual property panel) (June 15, 2005) (presented draft of Not.com: Commercial Law at the Cross-
    Codes?).
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88. Presenter, 2005 Yale/Stanford Junior Faculty Forum (working draft of Price and Pride: Third-Party
    Closing Opinion Practice Among U.S. Lawyers (A Preliminary Investigation)) (May 27, 2005)
89. Presenter, 2005 Harvard/Texas Commercial Realities Workshop (working draft of Price and Price: Third-
    Party Closing Opinion Practice Among U.S. Lawyers (A Preliminary Investigation)) (Apr. 8, 2005).
90. Panelist, American Association of Law Schools, Debtor-Creditor Section, Catholic Church Bankruptcies
    (Jan. 7, 2005).
91. Presenter, Midwest Law and Economics Ass’n, University of Iowa. Present working draft of Why do
    Lawyers ask for and Give Third-Party Closing Opinions? (Oct. 8, 2004).
92. Presenter, Villanova Law School Workshop Series. Present working draft of Why do Lawyers ask for and
    Give Third-Party Closing Opinions? (Sept. 22, 2004).
93. Presenter, Canadian Law and Economics Ass’n, University of Toronto. Present working draft of Why
    do Lawyers ask for and Give Third-Party Closing Opinions? (Sept. 17, 2004).
94. Moderator and program chair, American Bar Association, Train in Vain: Ethics Training for Business
    Lawyers and Law Students (Apr. 2004).
95. Moderator and organizer: Who’s the Consumer? The Changing Identity of Consumers in Commercial Law,
    Association of American Law Schools annual meeting (Jan. 2004).
96. Moderator, Eastern District of Pennsylvania Bankruptcy Bar annual continuing legal education
    program (Jan. 2004).
97. Moderator and director, American Bar Association, Questions from the Perplexed -- Common Drafting Issues
    Under Revised Article 9 (Nov. 2003) (nationwide teleconference of UCC Article 9 program).
98. Presenter, Midwest Law and Economics Association, Contract, Notice and the Privatization of Property:
    Verification and Measurement in Commercial Finance Law (working paper) (Oct. 2003).
99. Presenter, Canadian Law and Economics Association: Contract, Notice and the Privatization of Property:
    Verification and Measurement in Commercial Finance Law (working paper) (Sept. 2003).
100.Moderator and Presenter, American Bar Association, Training Lawyers and Law Students to do Deals (Apr.
    2003).
101.Moderator and director, American Bar Association, Questions from the Perplexed -- Common Drafting Issues
    Under Revised Article 9 (Apr. 2003).
102.Fellow, National Conference of Bankruptcy Judges (Oct. 2002).
103.Presenter, American Bar Association, Presenter, Special Purposes Entities and Enron (Aug. 2002).
104.Presenter, Law and Society Conference, Directors’ Duties to Creditors: Power Imbalance and the Financially
    Distressed Corporation (May 2002).
105.Presenter, American Association of Law Schools, Remote Control: Revised Article 9 and the Negotiability of
    Information (Jan. 2002).
106.Presenter, Arthur Moller Workshop (University of Texas), Remote Control: Revised Article 9 and the
    Negotiability of Information (Nov. 2001).
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Selected Media Quotes:
        1. Justin Wise, Purdue Pharma Law Firm Builds ‘Ethical Wall’ to Shield Ex-Judge, BLOOMBERG LAW,
           April 21, 2023.
        2. Justin Wise, FTX GROUP: Sullivan & Cromwell to Reap Millions for Untangling Co., TROUBLED CO.
           REP., Mar. 14, 2023.
        3. Libby Lewis, Why Did FTX Fail? A Judge Is Letting FTX Itself Decide, NEW REPUBLIC, Feb. 20,
           2023.
        4. Connor Sephton, Law Firm Overseeing FTX Bankruptcy Could Make Hundreds of Millions of Dollars,
           COINMARKETCAP, Jan. 30, 3023.
        5. Samuel Mbaki Wanjiku, FTX Lawyers to Make Millions from Bankruptcy Case, CRYPTO.NEWS, Jan. 27,
           2023.
        6. Helen Partz, FTX Lawyers To Reap Millions From Bankruptcy Case: Report, COINTELEGRAPH, Jan. 27,
           2023.
        7. Justin Wise, Wall Street Firm Set to Reap Millions for Untangling FTX Empire, BLOOMBERG LAW, Jan.
           27, 2023.
        8. Bob Fernandez, Malvern Opioid Maker Endo to be Monitored by Obama’s Former Drug Czar for $25K a
           Month, PHILA. INQUIRER, Nov. 22, 2022.
        9. Ernie Sadashige, FTX Bankruptcy Will Offer a Look Behind Crypto’s Dark Curtain, FOX BUS., Nov. 18,
           2022.
        10. Reuters, Will FTX's Bankruptcy Spill Into the General Economy Like Lehman Brothers?, FOX BUS., Nov.
            16, 2022.
        11. Bob Fernandez, ENDO INT'L: Paid Key Execs $55.5M in Bonuses Prior to Bankruptcy, TROUBLED
            CO. REP., Oct. 5, 2022.
        12. Santiago F. Dumlao Jr., Revisiting Securitization, BUS. MIRROR, Oct. 5, 2022.
        13. Bob Fernandez, Executive Bonuses at Malvern Opioid Firm Endo Were ‘Excessive’ and ‘Secret’ Before
            Bankruptcy, state AGs Say, PHILA. INQUIRER, Sept. 23, 2023.
        14. Bob Fernandez, Opioid Maker Endo Paid Top Executives $55.5 Million in Bonuses Before Bankruptcy
            Filing, PHILA. INQUIRER, Aug. 24, 2022.
        15. Daniel Gill & James Nani, Endo Follows Opioid Bankruptcy Playbook, With A Few Twists,
            BLOOMBERG, Aug. 18, 2022.
        16. Rick Paszkiet, Book Chat — Model Business Corporation Act Annotated, Fifth Edition, BUS. L. TODAY
            (06/27/2022).
        17. New Generation Research, Purdue Pharma L.P. – U.S. Trustee Still Not Happy with Sackler Release
            Provisions in Sixth Amended Plan; Examiner Finds No Evidence of Sackler Influence on Special Committee,
            BANKRUPTCYDATA.COM, July 21, 2021.
        18. Maria Chutchian, Sacklers Did Not Influence Purdue in Deal Talks, Examiner Finds, REUTERS, July 20,
            2021.
        19. Vince Sullivan, Examiner Clears Sacklers of Influencing Purdue’s Board, LAW360, July 20, 2021.
        20. Andy Brownfield, Cincinnati Attorney to Play Key Role in Oxycontin-Maker’s $5.4B Settlement, CIN. BUS.
            COURIER, June 30, 2021.
        21. Libby Lewis, The Swashbuckling Lawyer Who’s Taking on the Sackler Family, THE NEW REPUBLIC,
            June 28, 2021.
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22. Maria Chutchian, Purdue Pharma Bankruptcy Judge OKs Examiner but Condemns Sackler-Related Attacks,
    REUTERS, June 16, 2021.
23. Jeremy Hill, Purdue Judge Backs Bankruptcy Examiner After Explosive Hearing, BLOOMBERG NEWS,
    June 16, 2021.
24. Vince Sullivan, Examiner with Narrow Scope Approved in Purdue Ch. 11, LAW360, June 16, 2021.
25. Brian Mann, Sackler Family Empire Poised to Win Immunity from Opioid Lawsuits, NPR ALL THINGS
    CONSIDERED (June 2, 2021).
26. Brian Mann, 24 States Mount Legal Fight to Block Sackler Bid for Opioid Immunity, NPR MORNING ED.
    (May 3, 2021).
27. Meryl Kornfield, Newly Unsealed Court Documents Reveal Sackler Family’s Early Concerns over Lawsuits,
    WASH. POST, Dec. 22, 2021.
28. Geoff Mulvihill, Family Behind Purdue Pharma to Face Congressional Scrutiny, ASSOC. PRESS, Dec. 17,
    2020.
29. Andrew Scurria & Peg Brickley, Democratic Senators Object to “Rebranding” of Purdue as a Public Asset,
    WALL ST. J., Nov. 9, 2020
30. Sundary Sindhu, Penney’s Heads to Sale as Shareholders Dispute Value, WOMEN’S WEAR DAILY, Nov.
    9, 2020.
31. ABA Publishes 5th Edition of “The Model Business Corporation Act Annotated,” Oct. 15, 2020.
32. Larry Hamermesh, Daily Podcasts: Episode 3: The Model Business Corporation Act Celebrates 70 Years –
    Commemorated by the Fifth Edition of the Model Business Corporation Act Annotated, ABA Vitual Section
    Annual Meeting (Sept. 23, 2020)
33. Edward Helmore, Activists see Purdue bankruptcy case as last chance to call Sacklers to account, THE
    GUARDIAN, July 8, 2020.
34. This year could be one of the worst for bankruptcies, USA TODAY, June 30, 2020
35. Becky Yerak, Peg Brickley and Aisha Al-Muslim, Hertz Global : Judge to Rule on Hertz's Controversial
    Stock Sale in Bankruptcy, MKT SCREENER, June 12, 2020
36. Peter Hayes, Empty Dorm Rooms Spawn Dozens of Suits That Will Be Tough to Win, U.S. L. WEEK,
    June 4, 2020
37. Leslie A. Pappas, Surge of Bankruptcies Will Be Next Virus Curve to Flatten, BLOOMBERG L. NEWS,
    April 20, 2020
38. Celest Bott, ABA Lays Out COVID-19 Business Standstill Template, LAW360, April 20, 2020
39. Juliet Macur, As Gymnasts Who Were Abused Seek Answers, They Are Offered Only Money, N.Y. TIMES,
    March 3, 2020.
40. Geoff Mulvihill and The Associated Press, Bankruptcy Judge Thrust into Spotlight in Purdue Pharma
    Case, FORTUNE, Dec. 25, 2019.
41. Nina Feldman, Failure to pay doctors’ malpractice insurance lands Hahnemann, St. Chris
    owner in bankruptcy trouble, PHILA. TRIB., Dec. 18, 2019.
42. Sara E. Teller, Refinery Pushes for Executives to Receive Bonuses Despite Bankruptcy, LEGAL READER,
    Dec. 5, 2019.
43. Andrew Maykuth, After fire, Philadelphia refinery paid executives $4,591,500 in bonuses while hundreds were
    laid off, PHILA. INQUIRER, (Sept. 10, 2019).
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44. Peg Brickley, Bankruptcy Scholars Seek Probe of Purdue Pharma’s Owners, WALL ST. J. (Nov. 6, 2019)
45. Renae Merle, Judge in Purdue Pharma bankruptcy case extends lawsuit protection to Sacklers, WASH. POST
    (Nov. 6, 2019).
46. Renae Merle, Purdue’s choice of NY bankruptcy court part of common forum shopping strategy, experts say,
    WASH. POST. (Oct. 10, 2019).
47. Knowledge@Wharton podcast, The Purdue Pharma Bankruptcy Case: What’s at Stake, (Sept. 23,
    2019).
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                                 Appendix C


                                  Jonathan Lipson
                Folder/Documents
                Letter to Lipson 09 05 24
                Lipson - Potential Documents
                08.30.24 M. Cavenaugh (transcript & exhibits)
                08/20.24 R. Forbes_30b6 (transcript & exhibits)
                1 - Isgur's Disciplinary Letter
                09.20.04 J. Sussberg (transcript & exhibits)
                09.20.24 A. Rotman (transcript & exhibits)
                09.09.24 B. Ruzinsky (transcript & exhibits)
                Disclosures
                JW_00023522-JW_00023705 Attorney
                Sourcebook
                Exhibit A-1 USTP Identified Cases (002)
                Local Rules
                JW_00000307-JW_00000316 - 10-15-18 Email
                from Cavenaugh to Freeman & PDF of Expenses


                IEH - 150 - UST Reply
                MotiontoEmploy328final_0



                *Folders are in bold
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Folder      Folder/Documents     Folder/Documents         Folder/Documents       Documents
Potential   Transcripts          08.05.24 W. Jenkins      43104 W. Jenkins       43104 W. Jenkins Prev. Marked 038
Documents                                                 Exhibits
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                              Babcock Deposition       Exhibits              43087 C. Babcock 054
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                              Freeman Deposition       Exhibits              Exhibit 1
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                              08.01.24 P. Cowlishaw Job No.   43097 P. Cowlishaw         43097 P. Cowlishaw 070
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                                                               43178ForbesUSTP_F
                                                               (SECURED)
                                                               JW 30b6 transcript
         JW Retention Apps    17-32660-Ameriforge Group
                              Inc._153-App to Employ
                              JW_2017.05.26.pdf
                              17-35623-Offshore Specialty
                              Fabricators LLC_148-App to
                              Employ JW_2017.11.22.pdf
                              17-60079-Seadrill Limited_191-
                              App to Employ
                              JW_2017.09.29.pdf
                              17-60179-Expro Holdings US
                              Inc._153-App to Employ
                              JW_2017.12.29.pdf
                              18-30155-EXCO Resources,
                              Inc._382-App to Employ
                              JW_2018.02.26.pdf
                              18-31274-iHeartMedia,
                              Inc._271-App to Employ
                              JW_2018.03.22.pdf
                              18-35672-Westmoreland Coal
                              Company_376-App to Employ
                              JW_2018.11.08.pdf
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                              18-36057-Gastar Exploration,
                              Inc._215-App to Employ
                              JW_2018.11.30.pdf
                              18-36958-Parker Drilling
                              Company_253-App to Employ
                              JW_2019.01.13.pdf
                              19-31087-Weatherly Oil & Gas,
                              LLC_170-App to Employ
                              JW_2019.03.30.pdf
                              19-32112-Jones Energy
                              Inc._125-App to Employ
                              JW_2019.04.23.pdf
                              19-34508-Sanchez Energy
                              Coporation_269-App to Employ
                              JW_2019.09.06.pdf
                              19-35198-Sheridan Holding
                              Company II, LLC_118-App to
                              Employ JW_2019.09.25.pdf
                              20-20182-J.C. Penney
                              Company, Inc._685-App to
                              Employ JW_2020.06.11.pdf
                              20-30336-McDermott
                              International Inc._424-App to
                              Employ JW_2020.02.19.pdf
                              20-31884-Sheridan Holding
                              Company I, LLC_130-App to
                              Employ JW_2020.04.02.pdf
                              20-32021-Whiting Petroleum
                              Corporation_173-App to Employ
                              JW_2020.04.17.pdf
                              20-32519-Neiman Marcus
                              Group LTD, LLC_750-App to
                              Employ JW_2020.06.03.pdf
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                              20-32564-Stage Stores
                              LLC_385-App to Employ
                              JW_2020.06.04.pdf
                              20-32631-Ultra Petroleum
                              Corp._195-App to Employ
                              JW_2020.06.04.pdf
                              20-32679-Hornbeck Offshore
                              Services, Inc._132-App to
                              Employ JW_2020.06.01.pdf
                              20-33233-Chesapeake Energy
                              Corporation_370-App to Employ
                              JW_2020.07.16.pdf
                              20-33302-Covia Holdings
                              Corporation_195-App to Employ
                              JW_2020.07.21.pdf
                              20-33605-Bruin E&P Partners,
                              LLC_143-App to Employ
                              JW_2020.08.04.pdf
                              20-33752-California Pizza
                              Kitchen, Inc._297-App to Employ
                              JW_2020.08.28.pdf
                              20-33768-Mood Media
                              Corporation_122-App to Employ
                              JW_2020.08.14.pdf
                              20-33801-Denbury Resources
                              Inc._238-App to Employ
                              JW_2020.08.28.pdf
                              20-33900-Tailored Brands,
                              Inc._496-App to Employ
                              JW_2020.09.01.pdf
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Folder   Folder/Documents     Folder/Documents                  Folder/Documents   Documents
                              20-33918-Benevis Corp._176-
                              App to Employ
                              JW_2020.09.01.pdf
                              20-34114-Valaris PLC_207-App
                              to Employ JW_2020.09.15.pdf
                              20-34215-Valiant Energy, L.L.C.
                              (Arena Energy)_147-App to
                              Employ JW_2020.09.04.pdf
                              20-34500-iQor Holdings
                              Inc._154-App to Employ
                              JW_2020.09.28.pdf
                              20-34682-Bouchard
                              Transportation Co., Inc._173-
                              App to Employ
                              JW_2020.10.28.pdf
                              20-34771-Oasis Petroleum
                              Inc._207-App to Employ
                              JW_2020.10.16.pdf
                              20-35561-Mule Sky (Gulfport
                              Energy)_390-App to Employ
                              JW_2020.12.11.pdf
                              20-50082-Volusion, LLC_74-App
                              to Employ JW_2020.08.26.pdf
                              21-30354-Frontera Holdings,
                              LLC_159-App to Employ
                              JW_2021.02.25.pdf
                              21-30427-Seadrill Limited_250-
                              App to Employ
                              JW_2021.03.08.pdf
                              21-30630-Belk, Inc._154-App to
                              Employ JW_2021.03.08.pdf
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Folder   Folder/Documents     Folder/Documents                 Folder/Documents   Documents
                              21-30936-Brilliant Energy,
                              LLC_68-App to Employ
                              JW_2021.04.13.pdf
                              21-31861-Katerra Inc._289-App
                              to Employ JW_2021.06.29.pdf
                              21-31948-Washington Prime
                              Group, Inc. _208-App to Employ
                              JW_2021.07.01.pdf
                              21-90002-BASIC ENERGY
                              SERVICES, INC._809-App to
                              Employ JW_2021.12.13.pdf
                              21-90017-Carlson Travel,
                              Inc._221-App to Employ
                              JW_2021.12.07.pdf
                              21-90054-Strike LLC_363-App
                              to Employ JW_2022.01.06.pdf
                              22-50009-4E Brands
                              Northamerica LLC_72-App to
                              Employ JW_2022.03.24.pdf
                              22-60043-Free Speech
                              Systems, LLC_230-App to
                              Employ JW_2022.10.11.pdf
                              22-60043-Free Speech
                              Systems, LLC_265-Order
                              Employing JW_2022.11.07.pdf
                              22-90001-Seadrill New Finance
                              Limited_94-App to Employ
                              JW_2022.02.08.pdf
                              22-90018-Sungard AS New
                              Holdings_108-Order Retaining
                              JW_2022.03.11.pdf
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Folder   Folder/Documents     Folder/Documents                 Folder/Documents   Documents
                              22-90018-Sungard AS New
                              Holdings_211-App to Employ
                              JW_.pdf
                              22-90018-Sungard AS New
                              Holdings_291-Order Employing
                              JW_2022.06.06.pdf
                              22-90032-GWG Holdings
                              Inc._267-App to Employ
                              JW_2022.05.19.pdf
                              22-90035-HONX, Inc._128-App
                              to Employ JW_2022.05.31.pdf
                              22-90126-LaForta - Gestao e
                              Investmentos_67-App to Employ
                              JW_2022.07.15.pdf
                              22-90130-Altera Infrastructure
                              LP_228-App to Employ
                              JW_2022.09.12.pdf
                              22-90168-Cineworld Group
                              PLC_486-App to Employ
                              JW_2022.10.05.pdf
                              22-90291-Pipeline Health
                              System, LLC_219-App to Employ
                              JW_2022.10.20.pdf
                              23-60048-Candy Club LLC_107-
                              App to Employ
                              JW_2023.08.28.pdf
                              23-90002-Nautical Solutions
                              LLC_142-App to Employ
                              JW_2023.01.27.pdf
                              23-90054-IEH Auto Parts
                              Holding LLC_181-App to Employ
                              JW_2023.03.02.pdf
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Folder   Folder/Documents     Folder/Documents                 Folder/Documents   Documents
                              23-90054-IEH Auto Parts
                              Holding LLC_183-App to Employ
                              LF_2023.03.02.pdf
                              23-90068-Invacare
                              Corporation_269-App to Employ
                              JW_2023.03.02.pdf
                              23-90071-Nielsen & Bainbridge,
                              LLC_273-App to Employ
                              JW_2023.03.10.pdf
                              23-90085-Sorrento
                              Therapeutics Inc._231-App to
                              Employ JW_2023.03.15.pdf
                              23-90088-Avaya Inc._293-App
                              to Employ JW_2023.03.10.pdf
                              23-90111-Loyalty Ventures
                              Inc._175-App to Employ
                              JW_2023.04.05.pdf
                              23-90301-Venator Materials
                              PLC_227-App to Employ
                              JW_2023.06.14.pdf
                              23-90324-MLCJR LLC_433-App
                              to Employ JW_2023.06.13.pdf
                              23-90342-Envision Healthcare
                              Corporation_330-App to Employ
                              JW_2023.06.14.pdf
                              23-90566-Beneytt Technologies
                              Inc._249-App to Employ
                              JW_2023.06.22.pdf
                              23-90584-Qualtek Services,
                              Inc._215-App to Employ
                              JW_2023.06.23.pdf
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Folder   Folder/Documents          Folder/Documents                Folder/Documents   Documents
                                   23-90602-Diebold Holding
                                   Company, Inc._208-App to
                                   Employ JW_2023.07.03.pdf
                                   23-90614-Genesis Care Pty
                                   Limited_237-App to Employ
                                   JW_2023.07.03.pdf
                                   23-90709-Center for Austism
                                   and Related Disorders,
                                   LLC_197-App to Employ
                                   JW_2023.07.11.pdf
                                   23-90731-Surgalign Holdings,
                                   Inc._257-App to Employ
                                   JW_2023.07.19.pdf
                                   23-90745-AppHarvest Products,
                                   LLC_247-App to Employ
                                   JW_2023.08.21.pdf
                                   23-90761-Condor Inversiones
                                   SpA_141-App to Employ
                                   JW_2023.09.11.pdf
                                   23-90769-Soft
                                   Surroundings_188-App to
                                   Employ LF_2023.10.11.pdf
         Quinn Eman disclosure     Altera Infrastructure L.P_22-
         of SDTX bankr judges      90130_Quinn Emanuel
                                   Employment App
                                   Ultra Petroleum Corp_20-
                                   32631_Quinn Emanuel
                                   Employment App
         JW_00000435-
         JW_00000441 - 08-26-21
         Email from Cowlishaw to
         Freeman
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Folder        Folder/Documents         Folder/Documents      Folder/Documents    Documents
              JW_00012070-
              JW_00012083
              JW_00015883-
              JW_00015884
              JW_00020335-
              JW_00020338
              Van Deelen Dismissal
08.20.24 R.   Exhibits                 43189 R. Forbes 049
Forbes_30b6
                                       43189 R. Forbes 053
                                       43189 R. Forbes 062
                                       43189 R. Forbes 064
                                       43189 R. Forbes 065
                                       43189 R. Forbes 066
                                       43189 R. Forbes 075
                                       43189 R. Forbes 096
                                       43189 R. Forbes 103
                                       43189 R. Forbes 112
                                       43189 R. Forbes 119
                                       43189 R. Forbes 121
                                       43189 R. Forbes 122
                                       43189 R. Forbes 123
                                       43189 R. Forbes 124
                                       43189 R. Forbes 125
                                       43189 R. Forbes 126
                                       43189 R. Forbes 127
                                       43189 R. Forbes 128
              43189JacksonWalkerLLP.
              txt
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Folder        Folder/Documents        Folder/Documents         Folder/Documents   Documents
              43189JacksonWalkerLLP
              1A - CONFIDENTIAL.txt
              43189JacksonWalkerLLP
              1A _F (SECURED) -
              CONFIDENTIAL
              43189JacksonWalkerLLP
              _F (SECURED)
08.30.24 M.   2023.08.20              43247CavenaguhUSTP.txt
Cavenaugh
              Exhibits                43247 M. Cavenaugh 001
                                      43247 M. Cavenaugh 005
                                      43247 M. Cavenaugh 016
                                      43247 M. Cavenaugh 017
                                      43247 M. Cavenaugh 032
                                      43247 M. Cavenaugh 033
                                      43247 M. Cavenaugh 034
                                      43247 M. Cavenaugh 035
                                      43247 M. Cavenaugh 036
                                      43247 M. Cavenaugh 037
                                      43247 M. Cavenaugh 043
                                      43247 M. Cavenaugh 049
                                      43247 M. Cavenaugh 056
                                      43247 M. Cavenaugh 057
                                      43247 M. Cavenaugh 062
                                      43247 M. Cavenaugh 063
                                      43247 M. Cavenaugh 064
                                      43247 M. Cavenaugh 065
                                      43247 M. Cavenaugh 072
                                      43247 M. Cavenaugh 074
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Folder   Folder/Documents        Folder/Documents         Folder/Documents   Documents
                                 43247 M. Cavenaugh 075
                                 43247 M. Cavenaugh 077
                                 43247 M. Cavenaugh 082
                                 43247 M. Cavenaugh 083
                                 43247 M. Cavenaugh 084
                                 43247 M. Cavenaugh 085
                                 43247 M. Cavenaugh 086
                                 43247 M. Cavenaugh 087
                                 43247 M. Cavenaugh 091
                                 43247 M. Cavenaugh 092
                                 43247 M. Cavenaugh 093
                                 43247 M. Cavenaugh 094
                                 43247 M. Cavenaugh 095
                                 43247 M. Cavenaugh 096
                                 43247 M. Cavenaugh 098
                                 43247 M. Cavenaugh 100
                                 43247 M. Cavenaugh 101
                                 43247 M. Cavenaugh 104
                                 43247 M. Cavenaugh 112
                                 43247 M. Cavenaugh 117
                                 43247 M. Cavenaugh 124
                                 43247 M. Cavenaugh 136
                                 43247 M. Cavenaugh 137
                                 43247 M. Cavenaugh 138
         43247CavenaughUSTP.tx
         t
         43247CavenaughUSTP_F
         (SECURED)
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Folder        Folder/Documents        Folder/Documents                 Folder/Documents   Documents
09.09.24 B.   43288 B. Ruzinsky       43288 B. Ruzinsky 016
Ruzinsky      Exhibits
                                      43288 B. Ruzinsky 017
                                      43288 B. Ruzinsky 032
                                      43288 B. Ruzinsky 056
                                      43288 B. Ruzinsky 062
                                      43288 B. Ruzinsky 063
                                      43288 B. Ruzinsky 064
                                      43288 B. Ruzinsky 065
                                      43288 B. Ruzinsky 072
                                      43288 B. Ruzinsky 074
                                      43288 B. Ruzinsky 075
                                      43288 B. Ruzinsky 077
                                      43288 B. Ruzinsky 092
                                      43288 B. Ruzinsky 094
                                      43288 B. Ruzinsky 098
                                      43288 B. Ruzinsky 101
                                      43288 B. Ruzinsky 111
                                      43288 B. Ruzinsky 112
                                      43288 B. Ruzinsky 124
                                      43288 B. Ruzinsky 138
                                      43288 B. Ruzinsky 180
              4328RuzinskyUSTP.txt
              4328RuzinskyUSTP_F(SE
              CURED)
09.20.04 J.   Exhibits                43351 J. Sussberg 264
Sussberg
                                      43351 J. Sussberg Prev. Marked
                                      005
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Folder        Folder/Documents         Folder/Documents                 Folder/Documents   Documents
                                       43351 J. Sussberg Prev. Marked
                                       083
                                       43351 J. Sussberg Prev. Marked
                                       086
                                       43351 J. Sussberg Prev. Marked
                                       136
                                       43351 J. Sussberg Prev. Marked
                                       138
                                       43351 J. Sussberg Prev. Marked
                                       257
                                       43351 J. Sussberg Prev. Marked
                                       258
                                       43351 J. Sussberg Prev. Marked
                                       259
                                       43351 J. Sussberg Prev. Marked
                                       260
              43321BSussbergUSTP.txt
              43321BSussbergUSTPUS
              TP_F (SECURED)
09.20.24 A.   Exhibits                 43351 A. Rotman 256
Rotman
                                       43351 A. Rotman 257
                                       43351 A. Rotman 258
                                       43351 A. Rotman 259
                                       43351 A. Rotman 260
                                       43351 A. Rotman 261
                                       43351 A. Rotman 262
                                       43351 A. Rotman 263
                                       43351 A. Rotman 265
                                       43351 A. Rotman Prev. Marked
                                       005
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Folder        Folder/Documents           Folder/Documents               Folder/Documents   Documents
                                         43351 A. Rotman Prev. Marked
                                         083
                                         43351 A. Rotman Prev. Marked
                                         101
                                         43351 A. Rotman Prev. Marked
                                         136
                                         43351 A. Rotman Prev. Marked
                                         138
              43351ARotmanUSTP.txt
              43351ARotmanUSTP_F
              (SECURED)
Disclosures   17-32660 Ameriforge
              Group DOC 148 App to
              Employ K&E
              05.25.2017.pdf
              18-35672 Westmoreland
              Coal Co. DOC 227 App to
              Employ K&E
              10.22.2018.pdf
              19-31087-Weatherly Oil &
              Gas, LLC_170-App to
              Employ
              JW_2019.03.30.pdf
              19-32112 Jones Energy
              DOC 121 App to Employ
              K&E 4.23.2019.pdf
              19-34508-Sanchez
              Energy Coporation_269-
              App to Employ
              JW_2019.09.06.pdf
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Folder   Folder/Documents            Folder/Documents   Folder/Documents    Documents
         19-35198-Sheridan
         Holding Company II,
         LLC_118-App to Employ
         JW_2019.09.25.pdf
         20-30336 McDermott
         International DOC 428
         App to Employ K&E
         02.19.2020.pdf
         20-32631-Ultra
         Petroleum Corp._195-
         App to Employ
         JW_2020.06.04.pdf
         20-33605-Bruin E&P
         Partners, LLC_143-App to
         Employ
         JW_2020.08.04.pdf
         20-33752-California Pizza
         Kitchen, Inc._297-App to
         Employ
         JW_2020.08.28.pdf
         20-33768-Mood Media
         Corporation_122-App to
         Employ
         JW_2020.08.14.pdf
         20-33900-Tailored
         Brands, Inc._496-App to
         Employ
         JW_2020.09.01.pdf
         20-34114-Valaris
         PLC_207-App to Employ
         JW_2020.09.15.pdf
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Folder   Folder/Documents         Folder/Documents     Folder/Documents    Documents
         20-34215-Valiant Energy,
         L.L.C. (Arena
         Energy)_147-App to
         Employ
         JW_2020.09.04.pdf
         20-34771-Oasis
         Petroleum Inc._207-App
         to Employ
         JW_2020.10.16.pdf
         20-35562 Gulfport Energy
         (Mule Sky 20-35561) DOC
         460 App to Employ K&E
         12.17.2020.pdf
         21-30354-Frontera
         Holdings, LLC_159-App to
         Employ
         JW_2021.02.25.pdf
         21-30630-Belk, Inc._154-
         App to Employ
         JW_2021.03.08.pdf
         21-31948 Washington
         Prime DOC 206 App to
         Employ K&E
         07.01.2021.pdf
         21-90017-Carlson Travel,
         Inc._221-App to Employ
         JW_2021.12.07.pdf
         22-90001 Seadrill New
         Finance DOC 92 App to
         Employ K&E
         02.08.2022.pdf
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Folder        Folder/Documents           Folder/Documents    Folder/Documents    Documents
              23-90071 Nielsen &
              Bainbridge 362 Order K&E
              Employment App
              04.13.2023.pdf
Local Rules   Local Rules 01.28.20
              FINAL
              Local Rules 02.13.20
              FINAL
              Local Rules 120115
              FINAL
              Local_Rules_05.19.22
              FINAL
